Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 1 of 45 Page ID #:5
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 2 of 45 Page ID #:6



   1         Plaintiff Terry T. Gerritsen alleges:
   2                                    THE PARTIES
   3         1.     Plaintiff Terry T. Gerritsen, known professionally as Tess Gerritsen
   4   ("Gerritsen"), is an individual domiciled in the State of Maine.
   5         2.     Defendant Katja Motion Picture Corp. ("Katja") 1s a corporation
   6   organized and operating under the laws of the State of California with its principal
   7   place of business located in the County of Los Angeles, State of California.
   8         3.     Defendant New Line Productions, Inc. ("New Line") is a corporation
   9   organized and operating under the laws of the State of California with its principal
  10   place of business located in the County of Los Angeles, State of California.
  11         4.     Defendant Warner Bros. Entertainment, Inc. ("WB") is a corporation
  12   organized and operating under the laws of the State of Delaware with its principal
  13   place of business located in the County of Los Angeles, State of California.
  14         5.     Gerritsen is informed and believes, and on that basis alleges, that in and
  15   subsequent to 2008 each defendant was acting as the agent of each other defendant,
  16   and, in committing the acts and omissions described below, was acting within the
  17   course and scope of such agency with the knowledge, consent and ratification of
  18   each other defendant.
  19         6.     Gerritsen is informed and believes, and on that basis alleges, that in and
 20    subsequent to 2008, New Line and Katja have been and continue to be shell
 21    corporations wholly owned by WB and mere conduits through which WB conducts
 22    business. To the extent New Line and Katja continue to transact any business at all,
 23    it is at the sole direction and for the sole benefit of WB. Throughout the period 2008
 24    to the present, WB exercised complete management, control, ownership, and
 25    domination over New Line and Katja. As such, there has been and is today such a
 26    unity of interest and ownership between New Line and Katja, on the one hand, and
 27    their parent WB on the other, that the separate personalities of New Line and Katja
  28


                                                2
                                            COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 3 of 45 Page ID #:7



   1   no longer exist and if their acts are not treated as the acts of WB an inequitable result
   2   will follow.
   3                               JURISDICTION AND VENUE
   4            7.     The Court has subject matter jurisdiction over this action by virtue of
   5   the provisions of 28 U.S.C. Section 1332, in that there is complete diversity of
   6   citizenship between the parties and the amount in controversy exceeds the sum of
   7   $75,000 exclusive of interest and costs.
   8             8.    Venue is proper in this action under the provisions of 28 U.S.C. Section
   9   1391(a). Defendants reside in this judicial district which is also the location where a
  10   substantial part of the events or omissions giving rise to the claim occurred. Further,
  11   the contract which is the subject of the suit, as described below, expressly stipulates
  12   that all disputes between the parties will be litigated exclusively in the federal and/or
  13   state courts located in Los Angeles County.
  14                               FACTUAL ALLEGATIONS
  15            9.     Gerritsen is an international best-selling, award-winning author whose
  16   novels have frequently appeared on the New York Times Best-Seller lists. More
  17   than 25,000,000 copies of Gerritsen's books have been sold worldwide and from
  18   time to time her novels are purchased or optioned by television and motion picture
  19   production companies and studios.        Currently, for example, the television series
  20   Rizzoli and Isles which airs on the TNT network is based on a series of books
  21   Gerritsen wrote of the same name. Prior to her career as an author, Gerritsen was a
  22   medical doctor.
  23             10.   WB is engaged in the business of developing, producing, distributing,
  24   and marketing motion pictures including the 2013 motion picture entitled Gravity
  25   (the "Film").
  26             11.   This case concerns the damages suffered by Gerritsen because
  27   defendants failed and continue to fail to acknowledge that the Film was based on a
  28   novel she wrote. Gerritsen should have received a production bonus, a percentage of

       {00243521; 1                               3
                                              COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 4 of 45 Page ID #:8



   1   the net proceeds, and a source material credit on the - screen and 1n all paid
   2   advertising for the Film, but she did not.
   3          12.   In 1999, Gerritsen completed a novel she wrote entitled Gravity (the
   4   "Book") which was published by Simon & Schuster in September 1999. The Book
   5   is set in orbital space and features a female medical doctor/astronaut who is stranded
   6   alone aboard a space station after a series of disasters kill the rest of the crew. The
   7   Book details the astronaut's struggle to survive. Gerritsen did extensive amounts of
   8   research prior to and during the writing of the Book so that the depiction of NASA
   9   technology in the Book is realistic, which is unusual for a novel set in space.
  10          13.   Based on the manuscript it had seen before the Book was published,
  11   Katja purchased from Gerritsen the motion picture rights to the Book and "and any
  12   and all versions thereof including the title(s), themes, contents, dialogue, characters,
  13   characterizations, elements, translations, adaptations and any and all versions
  14   thereof," under a written contract between the parties dated as of March 18, 1999
  15   (the "Contract").   A true and correct copy of the Contract is attached hereto as
  16   Exhibit 1 and incorporated by this reference.
  17          14.   Under paragraph 2 of the Contract, Katja paid Gerritsen $1,000,000. In
  18   addition, the Contract provided for the following if a motion picture "based on" the
  19   Book (a "Picture") was produced: (a) Under Paragraph 2A, Gerritsen was entitled to
  20   a production bonus in the amount of $500,000; (b) Under Paragraph 2B, Gerritsen
  21   was entitled to contingent compensation in an amount equal to 2.5% of 100% of the
  22   "Defined Net Proceeds" of the Picture; and (c) Under Paragraph 15, Gerritsen was
  23   entitled to screen credit, on a separate card, in the main titles and in the billing block
  24   of paid advertisements for the Picture.
  25          15.   On pages 16 and 17 of the Contract, New Line executed and delivered a
  26   Continuing Guaranty ("Guaranty") in which it guaranteed the "full and faithful
  27   performance" by Katja of all ofKatja's obligations under the Contract.
  28

                                                 4
                                             COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 5 of 45 Page ID #:9



                   16.   Gerritsen is informed and believes, and on that basis alleges, that at the
   2     time the Contract was signed Katja was (a) a wholly-owned subsidiary of New Line,
   3     (b) a shell entity completely dominated, directed, and controlled by New Line, (c)
   4     regularly used by New Line as part of its overall business strategy to acquire literary
   5     material and develop the material into a viable motion picture screenplay ready for
   6     production, at which point the rights would be assigned to New Line or another
   7     entity controlled by New Line which would produce and distribute the actual film.
   8     Thus, it was understood and intended at the time the Contract was signed that when
   9     the Picture was produced based on the Book, Katja would assign its rights to New
  10     Line or to another entity controlled by New Line which would produce the Picture.
  11              17.    Following Katja's acquisition from Gerritsen of the motion picture
  12     rights to the Book, Katja and New Line, along with the production entity Artists
  13     Production Group ("APG"), sought to develop the Book into a film (the "Gerritsen
  14     Gravity Project''). The motion picture development process involves the writing of a
  15     screenplay for a motion picture and often involves the attachment of a director to
  16     supervise the process. Where the screenplay is based on a book, the director would
  17     have access to the book. Gerritsen is informed and believes, and on that basis
  18     alleges, that writer/director Alfonso Cuar6n ("Cuar6n") was attached to the
  19 .   Gerritsen Gravity Project and worked on developing the Book into a Picture.
  20     Gerritsen was not told of this attachment at the time.
  21              18.    To assist in the development of the Gerritsen Gravity Project, Gerritsen
  22     wrote and delivered additional material that constituted a modified version of a
  23     portion of the Book. The additional material written by Gerritsen included scenes of
  24     satellite debris colliding with the International Space Station ("ISS"), the destruction
  25     of the ISS, and the surviving female medical doctor/astronaut left drifting in her
  26     space suit, alone and untethered, seeking the means to return to earth. Since the
  27     Contract defined the property acquired by Katj a to include the Book "and any and all
  28     versions thereof," this additional written work was also owned by Katja.

         {00243521;1                                   5
                                                 COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 6 of 45 Page ID #:10



   1             19.   Gerritsen is informed and believes, and on that basis alleges, that
   2   sometime after 2002, Cuar6n and his son Jonas Cuar6n (collectively, the "Cuar6ns")
   3   wrote a screenplay entitled Gravity (the "Cuar6ns' Gravity Project"). The Cuar6ns'
   4   Gravity Project featured a female medical doctor/astronaut who is stranded alone
   5   aboard a space station after a series of disasters kill the rest of the crew.       The
   6   Cuar6ns' screenplay details the astronaut's struggle to survive. The depiction of
   7   NASA technology in the Film is realistic, which is unusual for a film set in space.
   8             20.   In or about 2008, WB acquired control of New Line and Katja by
   9   means of a corporate transaction. Gerritsen is informed and believes, and on that
  10   basis alleges, that by virtue of the transaction the rights and duties of Katja and New
  11   Line under the Contract and Guaranty were transferred and assigned to WB so that
  12   as of 2008 WB owned and still owns today the motion picture rights to the Book.
  13             21.   On or about December 17, 2009, the Cuar6ns granted all rights in the
  14   Cuar6ns' Gravity Project to WB.
  15             22.   In or about 2011, WB commenced production of the Film. Cuar6n was
  16   the Film's director. The Film included scenes of satellite debris colliding with the
  17   ISS, the destruction of the ISS, and the surviving female astronaut left drifting in her
  18   space suit, alone and untethered, seeking the means to return to earth. The
  19   screenplay credit for the Film was "Written by Alfonso Cuar6n & Jonas Cuar6n."
  20   By according this form of credit, WB represented to the public that the material for
  21   the Film was original with the Cuar6ns. The Film was released to the public in the
  22   United States on or about October 4, 2013. The Film's reported box office gross to
  23   date is over $700,000,000, which in the motion picture business is an exceptionally
  24   high amount.       The Film eventually won seven (7) Oscars.        Katja should have
  25   objected to the production by WB of a film based on a literary property technically
  26   owned by Katj a, but did not, because Katj a is controlled by WB and WB is
  27   effectively the owner of the motion picture rights to the Book.
  28


       {00243521 ;1                              6
                                             COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 7 of 45 Page ID #:11



   1                              FIRST CLAIM FOR RELIEF
   2                    (Breach of Written Contract Against WB and Katja)
   3            23.   Plaintiff realleges and incorporates herein by this reference each and
   4   every allegation made above in paragraphs 1 through 22 of this Complaint.
   5            24.   The Film was and is based on the Book within the meaning of
   6   paragraphs 2A, 2B and 15 of the Contract. Under paragraph 15(a) of the Contract,
   7   since the Film retained the same title as the Book, Gerritsen was supposed to receive
   8   the following credit onscreen and elsewhere in all paid advertisements for the Film:
   9   "Based on the book by Tess Gerritsen." The production bonus of $500,000 was
  10   payable within 20 days after commencement of principal photography of the Film,
  11   which occurred in 2011. Given the huge box office receipts of the Film, Gerritsen is
  12   informed and believes, and on that basis alleges, that Defined Net Proceeds have
  13   accrued, and that she is entitled to her 2.5% share thereof. However, none of the
  14   Defendants paid the production bonus of $500,000 or the Defined Net Proceeds
  15   compensation of 2.5% of 1OOo/o. None of the Defendants accorded Gerritsen the
  16   contractually required credit. All of the foregoing failures to pay money and to
  17   accord credit constitute breaches of the Contract.
  18            25.   Gerritsen has performed all of the terms and conditions of the Contract
  19   to be performed on her part. Without limiting the foregoing, she has notified
  20   defendants in writing of the breaches and provided them with the specified time
  21   within which to cure the breaches, as required by paragraph 21 of the Contract.
  22   Defendants have failed and refused to cure such breaches of the Contract.
  23            26.   As a direct and proximate result of the foregoing breaches of contract,
  24   Gerritsen has been damaged in a sum which cannot presently be calculated with
  25   certainty but which is believed to exceed $10,000,000 according to proof at trial.
  26   These sums include, at a minimum and without limitation, the $500,000 production
  27   bonus that is owed under paragraph 2A of the Contract, the participation in net
  28   proceeds which is due and owing under paragraph 2B of the Contract, damages for

       00243521; I}                              7
                                             COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 8 of 45 Page ID #:12



       deprivation of the credits agreed upon 1n paragraph 15 of the Contract, and
   2   prejudgment interest.
   3                              SECOND CLAIM FOR RELIEF
   4                     (Breach of Guaranty Against WB and New Line)
   5         27.      Gerritsen realleges and incorporates herein by this reference each and
   6   every allegation made above in paragraphs 1 through 26 of this Complaint.
   7         28.      Under paragraph 1 of the Guaranty, WB and New Line guaranteed "full
   8   and faithful performance of all of Company's obligations pursuant to the Agreement
   9   [Contract]."
  10         29.      Gerritsen has performed all of the terms and conditions of the Guaranty
  11   to be performed on her part. Without limiting the foregoing, she has notified
  12   defendants in writing that the Contract was breached and the nature of the breach,
  13   and she provided them with the specified time within which honor the Guaranty as
  14   required by paragraph 5 of the Guaranty.         Defendants have failed and refused to
  15   make any payments under the Guaranty.
  16         30.      WB and New Line have breached the Guaranty by failing to pay the
  17   consideration and afford the credit to which Gerritsen was due under the Contract.
  18         31.      As a direct and proximate result of the foregoing breaches of the
  19   Guaranty, Gerritsen has been damaged it?- a sum which cannot presently be
  20   calculated with certainty but which is believed to exceed $10,000,000 according to
  21   proof at trial.    These sums include, at a minimum and without limitation, the
  22   $500,000 production bonus that is owed under paragraph 2A of the Contract, the
  23   participation in net proceeds which is due and owing under paragraph 2B of the
  24   Contract, damages for deprivation of the credits agreed upon in paragraph 15 of the
  25   Contract, and prejudgment interest.
  26         32.      The prevailing party is entitled to recover its reasonable attorneys' fees
  27   and costs pursuant to paragraph 6 of the Guaranty.
  28


                                                    8
                                              COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 9 of 45 Page ID #:13



   1                           THIRD CLAIM FOR RELIEF
   2                             (Accounting Against All Parties)
   3            33.    Gerritsen realleges and incorporates herein by this reference each and
   4   every allegation made above in paragraphs 1 through 32 of this Complaint.
   5            34.    Under Paragraph 2B of the Contract, Gerritsen is entitled to contingent
   6   compensation in an amount equal to 2.5% of 100% of the "Defined Net Proceeds" of
   7   the Film.       The term "Defined Net Proceeds" is defined in Exhibit DNP to the
   8   Contract ("Exhibit"). The Film has been a huge financial success, grossing in excess
   9   of $700,000,000 to date in box office receipts alone which does not include any
  10   revenue from exploitation · of ancillary rights such as music publishing and
  11   soundtrack royalties, cable and network television deals, DVD and Blu-ray releases,
  12   and the like.
  13            3 5.   Under paragraph 9 of the Exhibit, defendants were and are obligated to
  14   deliver written statements to Gerritsen reflecting the financial performance of the
  15   Film and any payments due Gerritsen under the Contract and Exhibit. Defendants
  16   have failed to deliver any statements to Gerritsen and refuse to do so now.
  17            3 6.   Under paragraph 10 of the Exhibit, Gerritsen is entitled to audit the
  18   books and records of the Film, which are in the exclusive possession and control of
  19   defendants. Defendants have not recognized Gerritsen's right to conduct such an
  20   audit.
  21            37.    The determination of the amount of Defined Net Proceeds which are
  22   due and owing by defendants to Gerritsen must be based on a complex analysis of
  23   financial data and documentation that is within defendants' exclusive possession and
  24   control.
  25            38.    Defendants are in possession of money which they are obligated to
  26   remit to Gerritsen which they refuse to do.        Therefore, Gerritsen needs, and is
  27   entitled to, an accounting from defendants showing the amount of Defined Net
                                                                                                 I
  28   Proceeds which are owing to her.

                                                  9
                                              COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 10 of 45 Page ID #:14



    1         WHEREFORE, Gerritsen prays for judgment as follows :
    2                            First and Second Claims
    3         1.    For damages believed to exceed $10,000,000 according to proof,
    4   including without limitation the $500,000 production bonus, damages resulting from
    5   deprivation of the contractually-mandated credit, and loss of the Defined Net
    6   Proceeds;
    7         2.    For interest thereon at the maximum legal rate;
    8                                  Third Claim
    9         3.    For an accounting of the Defined Net Proceeds generated by the Film
   10   and those sums due and owing to Gerritsen;
   11                                   All Claims
   12         4.    For all costs allowable by law, including her reasonable attorney's fees;
   13   and
   14         5.    For such other and further relief as the court deems just and proper.
   15
        Dated: April 29, 2014                 KULIK GOTTESMAN & SIEGEL LLP
   16




                                              By:~&
                                                  =--
                                                  J ~·~
                                                      -·~
   17

   18

   19                                                Glen L. Kulik 1
   20
                                                     Attorneys for Plaintiff

   21

   22
   23

   24

   25

   26
   27

   28


                                                10
                                            COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 11 of 45 Page ID #:15



    1                                REQUEST FOR JURY TRIAL
    2

    3             Pursuant to Rule 3 8(b) of the Federal Rules of Civil Procedure, to the extent
    4   permitted by law, Plaintiff Terry T. Gerritsen hereby demands a trial by jury of all
    5   claims, defenses and issues raised in this case.
    6

    7


                                                  ::IK~Ak_ LLP
    8   Dated: April29, 2014

    9
   10
   11                                                    Glen L. Kulik
                                                         Attorneys for Plaintiff
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

        {00243521; I                                11
                                                COMPLAINT
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 12 of 45 Page ID #:16




                                          t=VL    ·~~~-
                                          L.../'11 t:S.I I
                                                                          1.
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 13 of 45 Page ID #:17




                                               KJ.,.. TJA fviOTION P'ICTIJl:tE CORP.
                                                 c/O NEW L!I\1'! PftODUCTIONS, INC.
                                         116   NORTH ROBERTSON &~ULEVARDt Surm 200
                                                     LOS ANGELESf CA 9-0048




       AsofMarch 18,            1m

       Terry T. Gerritsen ·
       clo Joe! Gotler
       Renaissanca
       9220 Sunset Boulevard, Suite 302
       U>s Angeles, CA 90069




       Ladies and Geutlem.en:

       This will confirm the sgroomen~ between lUr.TJA Iv!OTION PICTURE CORP. ("Company")
       and TFJ..RY T. GERRITSEN C'OtJlner~) with respect to tha:t certain original to be publishe-d
       novel entitled ~'GRAVITY" ~':dti.en by Owner and any aDd. aU versious thereof including the
       dtle{s)~   themes, contents, dislogue, characters, chancteri.z.a.tions~             elements, translations,
       adapt.a...tions and any t?.nd all vet'Sions thereof (herei.nSlfter        ~ferred   to as the r.Propercyw).
       1.       CONDmONS PRECEDENT; All ofComp11.ny's obligations hereunder are·subject to
       sa.tisfacti.on of the followEug conditio:ns precedent:
                  (a)       Signature by Owr~r am delivery to Company of this agreement;
              (b)     Company's receipt and approval of ail ch!th1-of-title documentation to tbe
       Property, including, but not limittxl to, a publisher's release in the form of Exhibit B attached
       hereto;

                  (c)       Company's receipt of a complete "P....nnotation" from Owner, if Paragraph 14
       applies.
       2.     PWCHAS.E PRICE: As full and complete consideration for all of tbe rights granted
       hereunder (including, without limitation, the "Rights" as defined in Paragraph 3 below) and the
       promises, representations and warranties made by Owner hereunder. Company shall pay
       Ow~r the sum of One Million Dollars ($1 ,OOOtOOO) (the "Purchase Price") upon satisfaction of
       the conditions precedent set forth in Paragraph 1 above.
       2A.        PRODJ,K;TION BONJ]S: In addition to the Purchase Price~ and provided Owner is not
       in material default hereunder, then, if Company produces a live action·tbeatrical motion picture
                                                  1
       based on the Property ("Picture'               ),   Company srl41.1 pay Owner a production bonus in the amount of


       Screenplay Option- Purchase 07131 t91
       Gn.'\'ity/Gerr04~E.001JS.1'3.99
                                                                      -1-


                                                                                                                      Ex. 1 - p. 12
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 14 of 45 Page ID #:18




        Five Hundred Thousami Dollars ($503.0:>0) payable within twenty (20) days afLer commencement
        of principal photography .of the Picture.
        2B.     CONTI_NQEI\11~ COMFENSATIOJS: In addition to tlre Purchase Price. and provided·
        Owner is n-ot in rrmteriai default hereunder, then. if Company produees. alld releases a live action
        theatdca! motion picture based on the Property (•Picture"), Company shrul pay Owner the
        following coniingf:"~ compensation:.                                                      .
               (a)      Net Proceeds: Owner slm!l rer...eive an amount eqWll to two and one-half perceni:
        (2.5%) of one hundred percent (100%) of the "Defined Net Proceeds" (as tb..at term is defined
        below), if any t of tb.e Picmre.
                (b)     Defined Net Pror-...eeds Defined: For pru:p.oses of this agreement, "Defmed Net
        Pror..eeds" shall be defmed in accordartr~ with Company's sttliWL~ defmition. of net profits,
        attached hereto as Exhibit "DNP .. as modified by the Rider attached thereto. Nothing
        conmined herein sh..all be construed as an undertaking by Company to maximize the "Defined
        Net Proreeds" of the Pictu..re.


               (a)     Conditioned oruy upon Comp~my ' s payment of the Purchase Price, Owner
        hereby seHs, grants, conveys and s.ss!gns the F'Jghts to Company. Upon payment of the
        Purchruie Price, the Rig..'hts shl!ll irrevO"...ably v~.st in Company.
               (b)    The "'Rights to means the following rights on an exclusive basis throughout the
        world in perpetuity:
                        (i)      The entire copyright and all rights of evet'Y type and nature now known
        or herea:iler de~~rised m and to t.l]e motion picture, television, allied and &'1Cil!ary rights in and
        to the Property.

                         (ii}    The right to develop and ptoouce any nwnber of audio sr~ s.udio visual
        worlrt.S ("Producti.ons") including withOut lim.itaiion fv~1ture films, television ~rtovies, television
        series, oilier te!evis!on productions, direct tc video produttions, stage plays .and interactive
        productions based upon or utili2ing t.~ Prop~ or any part of the Property.
                      (iii) The right to .D"Jike any changes in, deletions from or additions to the
        Property which. Company l~ its sole discretion may consider necessary or desirable.
                       (iv)      The right to copyright in any name Comp4'4<!!Y may designate and to
       distribute, exhibit, exploit and deal i11 and with the Productions in such manner as Company
       elects in aU media now knovm or hereafter devised (including without limitation in the
       thentrical, non..tbf!atricaJ. aU forms of television and home ~'ld electronic video media) and to
       exploit the phonograph record, merchandising, CD-Rom, interactive, music publishing, live
       stage theme park, studio tour, print publication, still photograph and artwork, film clip and
       ~dver+J.sing, "making of,~ promotional and. publicity rights in the Productions and in all
       materials contained in the Productions.                  .
                      (v)     The right to use Owner's name, approved (with respect to Owner's
        likenes~s as they appear in still photographs and artistic renderings only} likeness, logo, voice
       and biographical material (which Owner shall promptly provide to Company) in connection
       with the exploitation of the rights granted under this agreement.



        Screenplay Option-Purcb.ue 07/31197
        On.vity/Gcrr04EE.0021~. 13.99

                                                         -2-

                                                                                                              Ex. 1 - p. 13
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 15 of 45 Page ID #:19




                      (vi)  The rental and lending and peiformanr..e property rights set forth in
        paragraph 16 below.
               (c)     To the fullest extent not prohtbited by applicable law, Owner waives the benefits
        of any provisions of law known as "droit moral" s,nd of similar laws.
        3A. P~"3;§ERVED B.IGIITS. Owner hereby reserveS and does not grant to Company the
        following rights in and to the Property (collectively the "Reserved Rights"); provided, that
        notwithstandRng anyming which might b~ construed to the cont.~ry, Owner's reservation of
        rights shall not be construed as a grant by Cogr.pa.ny to Owner of the right to exercise the
        Reserved Rights in any material written or prepared by Company or at Company's request.
               (a)    Print Publication~: Own~r hereby resei"Ves all print pu.blication rights in
        the novei Gravity (including, without lirnit&iion., electronic publishing of the text of the novel
        wilhout visual accompaniment and non-d.rnmatic recoll.'ded l'f'~dings by a si.ngle or dual narrator
        of the text of pt!blished print editions of the mve! in the fonn of au.diocassettes, audiodisks, or
        similar audio-only devices individ.uaUy purcha.sed by t..l1e end-user) provided, however, tlun
        Company shaH have the right to publish excerpts or synopses of the Pt'operty or the
        productions based thereon for the ptupose of edvertising and exploiting any production
        produced hereunder~ provided that no such sum.mat'f or synopsis may iilClude more than 7 500   1

        words Ween directly from the Property and shall not be for sale in ti'..e U.S. Notwithstanding
        il.nything which might be construed to the comrerJ in this Agreement, Owner's rights shall not
        apply to any rmtterial written or prepared by Comp2ny or at Company's request~ inclu~t
        publication of the ~reoopl~y llftCI .r;r~~ ~ •els for t.'1e !'reductio~. . •          . , ,\.~~
                 (b)    Rad.o ang I~ TG!eyts!Q!'!..&~: Ownt;r reserves me fuhowing nghts m and
        to the Property: (i} all radio rights (~eept tha.t Company shall have simulcast rights ·as wen as
        the right to bt·oadcast over radio, advertisements with i't:Speet to motion pictures ot· other
        productions produced hereun-1er); and (ii} all live television rights.
                  (c)       Author-\Yritten Sequels: Subject to the terms of mis Paragraph. Owner reserves
        an rights in any "author-written se<f>llels." Author-written sequels, for purposes of this
        Paragraph, shall be defined u worlts 'Written by OV~:rner or upon 0\'"mer's death, worn
         authorized by the representation of his estate~ before or after the date hereof which use any of
         the characters depicted in t.l'te Property, participating in entirely different events from those
         depicted in t.J1e Propetty, whether such events are prior to, cow-...urrent with or subsequent to
        ·the events in the Property, and whose plot is subst2ntially new.

                       (i)     If Owner writes or .Ruthorizes the writing and publication of any sequel
        to the Property. Company shaU have a "Right of Last Retusar' with respect to the acquisition
        of any of the Rights to such au.thor-written sequel.
                               (ii)    The term ..,Right of Last Refusal" shall mean that if Owner makes
        or receives a bona fide offer for the acquisition of any Rights in any author-written sequel
        which Owner is desirous of accepting, Owner will give Company written notice of such
        proposed offer. in which notice Owner shall set forth the name and address of the proposed
        acquirer and the consideration to be paid. Company shall thereafter have the exclusive right,
        exercisable for a period of thirty (30) days following Company's receipt of the aforesaid notice
        frorn Owner to elect to acquire the rights set fortb in said notice on the terms therein stated
        (except that Company shall not be required to match any non-monet&ry term of any such third
        party offer which is not as readily capable of being performed by one person as another). If,
        however, Company shall fail or refuse to acquire such rights on the tenns so offered, Owner
        wili have the right to enter into an agreement with the party and upon the specific tenns set
        forth in the aforesaid notice to Company; provided, that any material modification to such

        Sc:rtc:nplay Option-Purchase 07/31/97
        Gravity/OetT04EE.0021S.13.99
                                                          -3-


                                                                                                             Ex. 1 - p. 14
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 16 of 45 Page ID #:20




        terms will require resubmission of the offer, as so modified, tQ Company. Should Owner fail
        to enter into an agreement with such third parcy with~n sixty (60) days after the expiration of
        the aforesaid thirty (30) day last refusal period. the procedure stated above shall be reprated on
        the next ~sion on which Owner desires to enter into an agreement witlt any third party
        regarding such author-written sequeL ·
                                  (iii)   Owner agrees not to exercise, or to authorize or permit ihe ·
        exercise of, or to sell, licer.se, or otherwise dispose of me rights referred to in this Paragraph
        3A or to any author-written sequels (other than print pubUc:!ion rights). or agree to do so,
        until after the t",xpiration of the It holdback period" as hereinafter defined. The holdback period
        shall mean L~e p·eriod conunencing on the date of this Agreement and eKpiring five {5) years
        after ilie flrst t:heatri~l exhibition or national television br·oadcast, as the case nuy be, in the
        United States of the frrst production produced hereunder, or seven (7) years after t11e date of
        exercise of the option, whichever fmt occurs. If Company con·une~r...es principal photogrlphy
        of any remake, sequel, television motion picture o~ mini-series or television series. th~n the
        foregoing restriction shall also apply during the period commencing, in each case, on
        commencement of principal photography of such r·em.aite or sequel o~· television motion picture
        or mini-series or each episode of such television series and ending fiVe (5) years after the frrst
        theatrical exb.ibition or television broadca.st, as the case n.v.y be, in. the United States of such
        rern&'f(e: sequel'D television motion picture or mini-series or episode. Notwithstanding anything
        contained in the foregoing to the contra.ry, in oo event shaJI Owtmr's exercise of the Reserved
        Right~ be COP..Stf.'. led ~tS limitation or resttiction on Company's right.s to use the characters
        contahied or describ~ mthe Property in fl.ny remake. seq-lllel or television production based on
        the Property or in any other manner petmitted hereunder.

        3B.    ADDWQNAJ,., PAYrAE1\7S.. l:f the Pichlre is produr..ed and released by Company
        punromt to trus a~~ent and if Owner sh&l! not then be in material breach of ,,ny
        representation. \Varta.nty or agreement conmiDed herein, then, witlt resp-:ct to any sube.equent
        productionu Owner shaU receive the following:
                 (a)        Seqp~b:       If Company produces a feature lengtb Uve action tb~atrical motion
       picture sequel ("Sequel") to the Picture for ini.tial exl1ibition in theatres in the Uni.te.d States,
       Owne& shall be entitled to receive for the fmt Sequ.el. a sum equal to fifty percent (50%) of the
       Purciw~ Price a~Kl Production Bonus paid pursuant to P~ngraph 2 above pius as contingent
       compensation, a pet·centa.ge of the Defmed Net Proceeds of sucJl_ Sequel, if any, which
       percentage shan be equa.l to one-ba.lf (1/2) of the percentage which Owner was entitled
        purs\Wlt to Paragraph 2B above.
                (b)    Remakes: If Company produces a feature length live action iheatricaJ motion
        picture remake of the Picture ("Remake") for initial exhibition in theatres in the UrJted States,
        Owner shall receive for the first Remake an amount equal to Lhi.rty-three and one-third percent
        (33-1/3%) of the Purchase Price and Production Bonus paid to Owner pursuant to Paragraph 2
        above, plus as contingent compensation, a percentage of tbe Defmed Net Proceeds of such
        Remake, if my, which percentage shall be equal to one-third (1/3) of the percentage which
        Owner was entitled pursuant to Paragraph 2B above.                    ·
                (c)    Television Motion Picture: If, following the production of the Picture~
       Company produces a live &ction motion picture based on the Property intended for initial
       erJtibition on United States network prime-time television ("Television Movie") Owner shall
       receive the sum of Five Thousand Dollars ($5,000) for each hour of the first Television Iviovie
       actu.aily telecast, but not to exceed a total of Forty Thousand Dollars ($40,000) which shall
       constitute full payment for any re-runs or other exploitation thereof.
                 (d)        Theatrical Release of Television Production:

        Screenplay Optlon-Purdl:.se 0713 WTI
        Gnwity/Gerr04EE.002/5.13.!W
                                                              -4-

                                                                                                              Ex. 1 - p. 15
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 17 of 45 Page ID #:21




                         {i)     lf a Television lviovie has a theatricaJ exhibition in the United States
        prior to its initial broadcast on television in the United Statest Owner shall be ~ntitled to an
        additional sum equal to one hundred percent (!00%} of fue applicable compensation paid
        pursuant to Paragraph 3B(c) above;
                       (ii)     If a. Television Movie bas a theatrical exhibition in the United States
        subsequent to its initial broadcast on television L'fl the United. States. Owner shall be entitled to
        an additional sum equal to Fifty Percent (50%) of the applicable compensation paid or payable
        to Owater pursuant to .Patagraph 3B(c) above;
                         (iii)   If a Teievision }llovie bas a theatrical exhibition outside the United States
        prior to its initial broadcast on television in the United States or if a Television Movie has a
        theatriC!! exhibition outside the United States subsequent to its ·initial broadcast on television in
        the United States, Owner shall~ entitled to an additional sum. equal to Fifty Percent (50%) of
        the applicable compensation paid or payable to Owner pursuant to Paragraph 3B(c) above.
                (e)   Television Series Roytdties. For an episodic ·television series based on the
        Picture produced for ex..!Ubition on United States network prime-time television ("Prinle Time
        Series") Owner shall be entitled to receive ttae fo!lo~Ning applicable per episode royalty.
        payable on a one-time basis within thirty (30) days after the initial teler.ast of the respective
        episode:

                       (i)      One 111ousand Dollars ($1,000) per episode for episodes of thirty (30)
        minutes or less in ler.gth.
                          (ii)   One Thousand Five Hundred Dollars ($1,5CIJ) per episode for episodes
        betv.teen. thirty (30) and sixty (60) minutes in length.                ·
                       (iii)   'f\No 111ous.r.nd Dollars ($2,000) per. episode for. e"pisod.es of b~1ren
        sixty (00) and rurety (90) minutes in length. ·

                (f)    For premimn cable prime time series, Owner shall be entitled to two-tl'a..ll'ds (2/3)
        of the applicable royalty set forth in Paragraph 3B(e) a.bove on a one-time only basis.
               (g) Unless specified other~ise, theatrical payments due under this Paragraph 3B shall
        be payable on the commencement of principal photography. Television payments sh.aU be
        payable upon th~ later of receipt of tb.e li~me fee or initial United States broade&.st.
        3C.       STAGE FJGh'1'S..
                (a)     Reversion. Ii1 dle event that Company does not exploit the legitimate stage
        rights to the Property granted hereunder within ten (10) years following the initial theatrical
        release of the Picrure and provided that Owner is not in mateml default hereunder, then such
        legitimate stage rights to the Property shall revert to Owner, subject to the following:
                       (i)     Owner shall~ prior to disposing of any of the legitimate stage rights in
        the Property, in each instance first negotiate in good faith exclusively with Company for thirty
        (30) days: If upon tbe completion of the 30 day period, the parties have not reached an
        agreemellt,. Owner shall be free to dispose of the legitimate stage rights which were the subject
        of the negotiation, subject parag:.-aph 4C(a)(ii) below.
                       (ii)    If Owner makes or reoei ves a bona fide offer for the acquisition of any
        legitimate stage rights to the Property which Owner is desirous of accepting, Owner will give

        Sc:runpla.y Option-Purchase 07/31Jf17
        QravityiGcrt04EE.OOlt5.13 .99
                                                         -5-

                                                                                                            Ex. 1 - p. 16
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 18 of 45 Page ID #:22




        Company written notice of such proposed offer, in wldch notice Owner shall set forth the name
        and address of the proposed acquirer and the consideration to be paid. Company shall
        thereafter have the exclusive right, exercisable for a ·period of thirty (30) days foilowing
        Company •s receipt of the aforesaid notice from o~~.,,ner to elect to acquire the rights set forth in
        said notice on the terms therein stated (except that Company shall not be required to match any
        non-monetary term of any such third party offer which is not as readily capable of being
        performed by one pernon as another). If, however. Company srutll fail or refuse to acquire
        such rights on the terms so offered, Owner will have the right to enter into an agreement with
        the party a.nd upon the specifiC terms set for~b in t.lte aforesa.id notice to Compa..-ty; provided,
        that any material modification to such terms will require resubmission of the offer t as so
        modified, to Company. Should Owner fail to enter into an agreement with such third party
        within sixty (60) days after the expiration of the afore5aid thirty {30) day last refusal period,
        the procedure stated above shall be repeated on the next occasion on which Owner desires to
        enter into an agr~meni with any third party regarding such exploitation of legitimate stage
        rights to the Property.
                         (iii)  Nothing contained in this paragraph 4C shan be construed as a restriction
        on h'le exploitation by Company of its merchandising, soundtrack, or advertising rights.
        Notwithstanding anything wi1Jch might be construed to n"le cor.nary, any reversion to Owner of
        tbe legitim.ate stage rights pursuant to this pa."r'agrtt}lh 4C shr;Jl not be construed as a grant or
        license by Company to Owner of any right in. ;any Pr<YJ.uction Ot' mB.terial written or prepared
        by Company or at Company's l{'equest or by any person granti.tlg rights or fumi&hmg services
        to Company ..
                  (b)       Royalty.
                         (i)     !n l~ evfint that Company produceg a dramatic stage play based on the
                                                 11
        Property uresented to a live audience ( Play~') and provided that Owner is not in tmterial default
        here1mder·, Owner shall be entitled to M. amount equal to one percent (l%) of the gross ·weekly
        box office rer~ipiS of each Derfoi'JlllWf'~ week of the Play ("Owoerts Royaltyf1) (provided that if
        the royalty of the crathor o{tlie Piay ["Author's Royalty"] is calculated buro on a percentage
        of the company s~..are (as such term is den~ in the theatrical industry] when the producing
        entity produci.Y'lg the Play is compeP-.Sated on a comp&n.y s.h~....re basis, Owner's Royalty shall be
        based on the company shtt.re in the same proportion to the Author's Royalty bared on the
        company share tlm.t Owr,.er's Royalty bears to the Author's Royalty). Owner's Royalty under
        this pm-agraph 4C(b)(j) shall be subject to such wa.ivers. defennents, and reductions as the
        Author's Royalty is subject. ·
                       (ii)  The gross weekly box office receipts and production costs shall be
        oomputed and defined and such royalty paid in accordance with the normal custom and usage
        of then current Broadway theatrical practice (including accountings and right of audit).
        4.        ItEPRESENTATIONS AND WARP.,AJ~TIES Owner represents, warrants and agrees
        that:
            (a)    The Property has not been published. Tne Property is scheduled to be published
        b y - - - - - - on                 ,
               (b)     The Property was written solely by Owner and is wholly original with Owner
        except for incidental public domain material;
               (c)    Solely witll respect to non-trademark and non-copyright-related claims, the
        foregoing representations and warranties are made to the best of Owner•s knowledge (inc1uding
        that which Owner should have known in the exercise of reasonable prudence). neither the

        Screenplay Option--Purct.ase 07/31/97
        GravifY/Gc.nQ4Ee.0021.5. 13.9CJ
                                                        -6-


                                                                                                           Ex. 1 - p. 17
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 19 of 45 Page ID #:23




         Property, nor any part or element thereof: (i) infringes upon or violates the personal or
         property rights or any other rights of any person or entity (including. without limitation, the
         rights of copyright, trademark. privacy and publicity); or (ii) contairu any element or material
         whi,ch in a.ny manner constitutes a libel, slander or other defamation of any person or entity;
               · (d)   'rhe Property is wholly fictional and is not bav...d in whole or in pan on .any
        actual individual, whether living or dead, or any "real life" incident. except if and to the extent
        specified on the "Annotation" furnished by Owner concutrently with the execution of this
        agreement pursuant to Paragraph 14 below;
               (e)    The Property ~ the Rights and a!! other rights and privileges granted or to be
        granted to Company hereunder ue and shall at all times be free and c!ear of any Uens, claims,
        charges or encumbrances;
                (f)     To the 'best of Owne:r•s knowledge, (or that which o-wner should have known in
        the eJtercise of reasoMble prudence), no clanns, litigation or other proceedings have heretofore
        been asserted and/or brought m1-d no claims, litigation or proceedings are pending or threater£d
        relating to the Property, the IUghts and/or to any of the other rights and privileges granted or
        to be granted to Company hereunder;                                                       ·

                 (g)    Ovmer is the sole and exclusive owner of the Property, and all of the Rights,
        and of all ether dgh~ ~ ptivileges granted or to be grantoo to Company hereunder and
        Owner has full right, povver ruod ~uthority to make and perform this ·a,greement without
        obtair.ing the cor&nt or approval of any person or entity;
                  (h)        No part of the: Property is mthe public domain;
               (i)     Owner has not heretofore in any way exerci.sf;d or disposed of the Righu: or any
        part Lhereof. Without limiting tl".e generality cf ti'1e foregoing. fue Property b?...s not previously
        been p~:rfomlf'.d. exploited or e~dlibnoo as a motion picture~ television production, audio-visual
        production, play or other fotTa, and no rights have been granted or licensed to any third party
        to do so;
                (i)     The Property may be validly copyrighted and registered for copyrigh~ in me
        United States of f\merica and may similarly be protected elsewhere to the m~.ximum extent that
        tlle laws of other c,ountries provide for such protection;
               (k)   . A!l _material in the nAnnotationlt furnished by Owner pursuant to Paragraph 14
        below (if applicable) shall be complete, truthful and accurate in all respects; and
                (1)     Ov.m.er has not done or omitted to do, oor will Owner do or omit to do, any act
        or thing which would imp~~r, encumber or dhninish Company~s full enjoyment of the Rights
        and all other rights and privileges granted and to be granted to Company under this agreement.
                (m}    Owner represents that he/she has not entered into any agreement (written or
        oral, implied or express) with any third party which relates to the Picture of the production of
        the Picture nor have they made any promises to any third party in connection with the Picture
        or the production of the Picture.
        5.        INDEMNITY:
                  5.1.       Owner wiU        defend~   indemnify, make good, save and hold harmless Company,
        its parent, successors, licensees and assigns and their respective officers, agents and
        employees, from all claims, liabilities, damages, costs, charges. reasonable attorney's fees,

        Screenplay OpUon-Pun;;hue fr1/31i97
        Gra\lity/Oerr04EE.0011~. t 3.99
                                                                 ~7-



                                                                                                            Ex. 1 - p. 18
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 20 of 45 Page ID #:24




        recoveries, actior-JS, judgmenu, penalties, expenses and other losses whatsoever which may be
        obtained against, imposed upon or suffered by Comnany, its parent, successors~ licensees and
        assigns arising from a breach or aHeged breach of        any
                                                                of Owner•s representations~ warranties
        or agreements hereunder.
                :5 .2. Company hereby agrees to defend, indemnify and hold bannless Owner against
        any and all third party claims and expenses incurred by Owr~i:a by reason of the material
        breach of any reprt>,sentation, warranty, undemking or agreement of Company hereunder with
        respect to which 0\vner has no obligation to indemnify Company pursuant to Paragraph S .l
        above; provided, that such claims do no~ arise out of Owner's tortious or criminal conduct or
        contractual breach.
               5.3. Owner shall have the right as well as the obligation to consult and cooperate
        with Company in connection with any claim, subject to the indemnity set forth in Paragraph
        5.2 above and, upon Cotr4>ru!y's request, to funush Compa_.ny with any and all evidence,
        materials or other information relevant thereto. Owner shall have the right (at Owner's sole
        expen...<:e) to bave Owner's own counsel present in connection with the defense of ~y such
        claim, provided that such counsel fully cooperates with Company's counsel and in no way
        imerferes with the reasonable handling of the case by Company's counsel. All aspects of the
        defense of such claim, whether as p8l1: of tny litigatton, negotiation Qr otherwise (including,
        without limitation, any decision regarding any settleme.nt)t shall be controlled by Company,
        Company shall be free to use COUrl.$el of Company's choice in connection therewith, a·nd such
        control sr..all in no w2y abroga:~ oc dir.ai'lish Owner's obligations under Paragraph 5.1 above.
        6.      "VAIVER OF coDROI''f MOR.AL": Owner heteby w~~ves, for itself and on behalf of
        bis or her heirs~ executorst ac:hninistr.s.rors arid assigns. all right of "droit :w:nornl K or any similar
        laws or legal principles, ~.nd agrees, for itself and on bebalf of his or her heirs, executors;
        administrators sJld assigns, not to institute, support, maintain or permit directly or indirectly
        any litigation or pror-...eedi.o.gs instituted or maintained on die ground that Company's exercise of
        its rights in the Property in .any way cons:dtutes m infririgeme-r..t or violation of any right of
        "droit moral 11 or is mfmY \V?-Y a defamation or mutilation of the Propen:y, or any part thereof,
        or cotttains unau.thorized variations, alterations, modifications, change$ or translations.
        7.       ADDIUQ!l.1L DQCIJMEN1:S: Concurrently with tbe execution of this agreement
        Owner will execute the~ Assignment" attached hereto u Exhibit "A .. (" Assigrunent"). Owner
        shall execute and deliver ~my further and additional co:rJ.Sistent documents which Company may
        d~m necessary to can-y out ~ effectuate the purpose ~1-nd intent of this agreement. If Owner
        fails to execute and deliver to Company my such further docu.mersts required of tl}em under
        this agreement within three (3) business days after Company's written request thereforl or if
        Owner fails to take auy action :necessary or desirable to effectuate the purposes of this
        agreement (including, without lin1itation, renewing copyrights and initiating and maintaining
        actions of infringernent), and Owner fails w respond within Rhtee (3) business days of
        Company's notice or request therefor, then Owner hereby irrevocably appoints Company as its
        attorney-in-fact to execute such documents and take any ruch actions. Said appointment is
        coupled with an in:erest and shall be irrevocable.
        8.     INSTITUTION OF LEGAL ACTION: Owner hereby grants to Company the free
        and unrestricted right. exercisable at Company's cost and expense, to institute in the name and
        on behalf of Owner suits and proceedings at law or in equity to enjoin and restrain any
        infringement(s~ of ihe rights herein granted; Owner hereby assigns to Company any and aU
        causes of action arising fron'l any such infringement(s) and any and all recoveries obtained in
        any such action. Owner agrees that it wiU not compromise, .settle or in any manner interfere
        with any such litigation.

        &runpiay Option-Purdla&e 07131197
        Gravhy/Gcn04£E.00213..13.99
                                                           -8-


                                                                                                               Ex. 1 - p. 19
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 21 of 45 Page ID #:25




         9.      COPYRIGl:r'f ..QF LITERARY PROPF;RTY: Owner shall take and complete any
         and all steps and proceedings required by the law of any country in the world in which the
         Property is herea.fter published to secure copyright in the Property and to prevent the Property
         from falling into the public domain by reaso:n of any such publication. Owner shaH take such
         steps ss may be reasonably necessary to renew or extend, insofar as possible, any and all
        copyrights now or hereafter secured u~n the Property. As a materiai part of the consideration
        moving to Company for its execiution of this agreement, 0\vner agrees that in the event the
        termination of transfer provisions of Section 203 of the United States Copyright Act shall be
        applicable prior to the termination of Company's rights hereunder, Company shall have a right
        of fJISt negotiation and right of last re~J with respect to the renewal of b.'le rights granted to
        Company hereuf¥ler. If Owner fails to do any of the things sp:..-cified in this paragraph,
        Company is hereby irrevocably granted the power c~upl.~ w.ith any interest to perform such
        acts and take such proceedings in the name an.a on beha.lf of 0\t..rner as its attorney· in-fact
        10.      NMiE/LIKENESS/VOICE: Owner hereby gnmts to Company. its successors and
        assigns, the irrevocable right, forever and throughout the world, iO use, for no additional
        consideration, Owner's n..~e. image, approved (with respect to Owner's likenesses as they
        appear in still photographs and artistic renderings only} likt;ness, voices &.1d/or approvc.d,
        biographical nw.terial (which Ov;.rncr shaU promptly provide to Compmy) in connection with
        the production, exhibitionJ advertising. publicity, and other er.ploitation of any motion piCLures
        prcduct."<i hereunder and all subsidiary, ancillary, arad derivative rights therein and thereto,
        and/or·any other use or w..ploit.ation of any of the rights herein gmo.t.ed to .Company with
        respect to the Property; tJrovided, that in no event shall 0\\rner be depleted ;s directly
        endorsing any product without Owner's prior consent.
        ll.       AaSIG-N14E.NT: 0\\rr.er agrees that Company may assign this Agreement, in whole or
        in part, at any time to any person, corporation. or other entity, provid(".Q that Unle$S this
        ~ignment is to a so..called major or mini-major prodlA."tion r.omp.any or distributor or
        sirililsrly financially responsible party or purct~~.ser of mbstanti.aU.y aU of Company's. stocks ot·
        assets which assumes in writing all of Company's obligations, Company shall remain
        s~...ondarily liable for all obligations to Owr~r hereunder.

        12.     NOTICES~ A..ll notices hereunder shall be in writing rutd sh~ll be given by personal
        delivery, unless personal delivery is impracticable, in which case notice may be given by
        overnight oourier facsimile transmission or by registered. or certified mail (postage prepaid),
                              l)


        and shall be demled given hcm~nder on the date delivered or faxed, the d&y after a notice is
        sent by overnigltt courier or a date forty-eight (48) hours after the date mailed. The time to
        respond to notices given during the Christmas-New Ye:u:'s week shall be tolled until five (5)
        business days following New Year's Day. Until further notir~, the address of the parties shall
        be as follows:



                 0\VNER                                COI'VIPANY
                 Terry T. Gerritsen                    Katja Motion Picture Corp.
                 c/o Joel Ootler                       c/o New Line Productions, inc.
                 Renaissance                           888 Seventh Avenue
                 9220 Sunset Blvd., Suite 302          New York, NY 10106
                 Los Angeles, CA 9(X)69                Attn: Judd Funk
                 Fax: (310) 858-5389                   Exec. V.P. Business & Legal Affairs
                                                       Fax: (310) 289-5167



        Sc~tnplty Option-Purchase 07/31/97
        Gn&vity/Ocn04EE.002/!i.13.99
                                                        -9-

                                                                                                          Ex. 1 - p. 20
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 22 of 45 Page ID #:26




                   \Vith a copy to:                         '\rVith a copy to:
                   Linda Lichter, Esq.                      Benjamin Zinkin
                   Lichter, Grossna'l, Nichols             Sr. Exec. V.P. Business & Legal Affairs
                    & Ji.dler, Inc.                        New Line Cinetm CorJ?.
                   9200 Sunset Boulevard                   888 Seventh A venue
                   Suite 530                               New York, NY 10105
                   Los Angeles, CA 90!YJ9                   Fax: {212) 956-1931
                   Fax: (31 0) 205-6990
                 With a copy      ro~

                   Meg R:oley
                   Jane R{ltresen Agency
                   318 Bast 51st Street
                   NewYodc, NY


        13.      LJJwiiTATION OF RE.MEDIF.&: Owner acknowledges that in the event of a bre2eh of
        any of Company's obligations under tl.lis agreement, the damages (if any) cause..1 to Owner
        thereby is uot irreparable or othen''ise suffi.cie:nt to g!ve rise to a right of injun...4:ive or other
        equitable relief; and o-wn.~r' s rigb.ts and remedies in me event of a bruch of this agre~:;ment by
        Coifl..pany shall be limi.ted to t.be right, if ~-UY; to rer..over d~n11a.ges in an action at law II'..d
        Owner shall not be entitled to any equitable relief to restrict or i..~erfere "'J.rith Company's right
        to produce, distribute, rr!IM"ket or exploit all motion pictu.-res or other p-rod.uctions produced
        purs1W..nt to this e;.g:reement or r,ontemplated lJ.erelu. (including, but not lim:i:ted to, derivative
        wort..s) L~ti the ancilla1-y rights therein or to otherwise exploit or e1~ercise any of the righ-es
        gra.n-r~   to Company hereurt:ier..

        14.      ~QT-ATI(b:i G'Ul.'I)E: If and to the extent any :;naterial (in~luding, without
        limitation., ch:.aracters and. ctmrncterizations) contained in the Property i~ based m·whole or in
        part on any actYal individ.u31. whether living or dead, or any Areal life" incident. Owner sllaU
        prepare ar~d deliver to Company, not later than the date of execution of this agreement, a
        complete, tnte and accurate written annotation of such marerial, in accordance with the
                                                                                  10
        guidelines provided in the Ar&otatiou Guide attached hereto (the Pt.!Ul.Otation"). Owner shall
        also ar..curately provide such ot.lJer infcnrutdon ss may be reasonably required by Company or
        its insurance ~rrier for the purpose of evalUJldng ibe risks involved in the utilization and
        exploitation of the lughts.

        15.      CP.EDIT: In the event that Owner fulfills all of its obligations hereunder and is not in
        breach of this Agreement, Company shsa1l e.c.cord Owner credit on screen, on a separnte card in
        t..ne main titles and in the billing block of paid advertisements for the Picture~ subject to
        Company's standard and customary exclusions and practices and applicable guild and union
        restrictions and insurance carrier parameters, in the following fonn:
               (a)      If the Picture has the same title as the title of the Property. such credit shall read
        substantially as follows:
                                             "Based on the book by Tess Gerritsen"
               (b)     If the Picture has a different title t.ftan the title of the Property~ such credit shall
        read substantiatiy as follows:


        Screenplay Qption·Purcluse f17/3tm
        Grnity/Gerr04EE.00215.13 .99
                                                            -10-


                                                                                                            Ex. 1 - p. 21
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 23 of 45 Page ID #:27




                                       "Based on the book 'Gravity' by Tess Gerritsen"
        Owner's credit shall also appear in all so-called excluded advertising issued by or under
        Company•s controi (except for award, nomination and congratul2tory ads naming only the
        honored individual) wherever the writer for the Picture is accorded credit in such excluded a.d.
        It is specifically understood that no casual or inad vertem failure by Company to comply with
        the provisions of this Parag~-aph shall be deemed a breach of this Agreement; provided, that
        upon r~ipt of written notice of such failure, Company shall tske reasonable steps ~o
        prospectively cure any failure to ~~ccord credits which :are economically practicable to cure.
        Ow-aer's sole remedy for any breach of this Paragra.ph shall be in an action at law for damages
        and in no event shall Owner be entitled to equitable relief therefor.

        16.    J::UBLIC RIGH.T.S.: NoWfng contained in this ~gN'ement shall be construed to be or
        operate in derogation or limitation of any rights to which Company may be entitled as a
        member of the public if this agreement were not in·existence.
        17.      ru;ROPIAN COMJV!VNITY (''EC") DIRECTPJE§:
                (a.)    krJaB and Lending Rights: Owner acknowledges that the compensation payable
        under this agreement includes B-dequate and equitable rezn~vreration for the "Rent&l and
        Lending Rights" (as def'med below) snd to the fullest extent permitted by applicable la.w,
        constimtes a. corilplete worldwide buyout of a.n Rental m1d Lfmding Rights, in perpetuity.
        Owner hereby ~.ssigns the RentaJ and ~ncling rights to Company. Owner hereby irrevocably
        grants to Com!},.ny tb.roughout t'le world in perpeu.lity, the right to collect and retain for
        Company's ov:ro account all amounts payable to Ov1ner it~ respect of Rental and Lending Rights
        and in'ev~..ably directs any collecting societies or other persons or entities receiving such
        amounts to pay them to Company.
                 (b)    l)efinition: "Rental alld Lending Rights" means all rights of Owner to
        authorize~  prohibit, oon;ttol or rer-..eive liloney (other than ~·provided. in d1is agreement) from
        the reots1, lendmg, fixation, reproduction of other explo-itation of t~~ tttaierials, results and
        prO"~ of Owner's services, or any motion picture, progra.m or ot.1rter production based
        thereon, by any media or mear!IS now known or hereafter devised a~ may be conferred upon
        Owner under applicable laws, t"egulations or directives, many jurisdiction throughout the
        wudd, including any so--caUed rental and leooing rights pursuant to the European Community
        directives or enabling or implementing legislation, laws or regulations enacted by member
        nations of the European Conununiey. The payments made by Company to Owner under this
        agreement are deemed to include sufficient remuneration for all so-called rental and lending
        rights pursuant to the EC directives, enabling or h-nplementing legislation, laws and regulations
        enacted by the member nations of the EC.
        18.     ER.ROR.S ~"'D Ol\41SSIONS INSLTRANCE. Company agrees to name Owner as an
        additional insured on Comp~nv •s Errors and Omissions insurance policy with respect to the
        Picture ·for so long as, and only to such extent as such policy is carried by Company. The
        provisions of this Paragraph shall not be construed so as to limit or otherwise affect any
        obligation, representation or agreement by Owner hereunder.

        19.    VIDEOCASSETTE AND DVD: At such tiroe as videocassettes and DVDs of the
        Picture are generally commercially available, Owner shall be entitled to receive one (1)
        videocassette and one.(l) DVD of the Picture at no charge.

        20.     PRE?v{IE1;\ES: Owner and one (1) guest shaH be invited to the U.S celebrity premiere
        of the Picture. if any. If such premiere occurs more than seventy-five (75} miles from

        Scrunplay ()p(ion-Purcbisc 07/31/91
        Gravtti/Geri04EE.002/$.13. 99
                                                           · 11-

                                                                                                         Ex. 1 - p. 22
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 24 of 45 Page ID #:28




         0'",1\Iner 's residence Company shall provide Owner witll business class travel for two (2) and
         reimburse Owner for Owner's (only) pre-approved expenses for accommodations.

         21.       NOTICE FOR COl\ln~fo..NY'S FAILURE TO PERFOIDd: No failure on the part of
         Company to perform any of its obligations hereunder shall be deemed a breach of this
         agreement unless and until Comp~ fails to cure such failure within thirty (30) calendar days
         after written notice by Owner to Company of such failure to perform.
         22.     COIVD:'Llfl"E UNDERSTANDING: This agreement sets forth the complete
         underst.anding between o·wner m:<t Company with respect to the subject matter hereof, and all
         prior agreements have bten merged herein, whet.iter written or oral, and ro..ay not be modified
         except by a written instl"l!ment signed by the party to be charged. Owner acknowledges that no
         representation or promise not expressly contained in this agreement has been made by
         Company or any of its agentst employees or representatives.
        23.    AIVIENrnt.iE.l\l'l'S: This agreement may not be modified or amended except by written
        insttument signed by au parties hereto.
        24.      GOVEF{NING J.JAlV: This agreement shall b-3 governed by the laws of frte Smte of
        California applicable to agre..ements entered, into and to be wholly performed theJ.:'fjin and shall
        not be modified except by~ written doowrJent executed by both pB.A"'ties hereto. All disputes
        arising out of this agteement shall b~ excluLSively resolved .a.oo adjudicated in the Federal and
        S'tate Couru; in Los Angetes 1 California. Each of the pa.rdes heA'ehy subn1its to the exclusive
        jlk"isdiction and. venue of said courtE and waives its rights to 1mve disputes a.tising out of this
        agreement adjudicated in any other forum.

        If the foregoing accurately reflects your understanding of oux agreement, please confum by
        signing in the spafY~ provided below.




         ACCEPTED AND AGREED TO:




         Screcmplay Optio,...Purebasc 07131/97
         Oravity/Gen04EE.0021S. J 3.99
                                                        -12-

                                                                                                           Ex. 1 - p. 23
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 25 of 45 Page ID #:29




                                                    EXHIBIT A
                                                   ASSIGNMENT
        For good and valuable consideration., the receipt of which is hereby acknowledged. tbe
        undersigned, TERRY T. GERRITSEN (the "Assignor"), seiis and assigns to KATJA
        r'!;(OTION PICTURE CORP., its successors and assigns, forever and throughout the world, an
        right, title and intet.'"eSt in the original literary material 2ndlor dramatic work (the "Property ")
        described. as follows:


                 TTI"LE:                    "GRAVITY"
                 AUTHOR:                    TERRY T. GERRITSEN
        The PropertJ inciudes1 but is not limited to: (i} aU contents; (ti) an past. present and future
        adaptations ~nd versions; (iii) the title, characters and theme; a..~ {iv) the copyright and all
        renewals a.nd extensions of copyright.
        This Assign.n1ent is. executed in accordance with and is subject·to the agreement (the
        "agreement'") between the A.J.Ssign.or a.nd Company dated as of March 18, 1999 relating to r:he
        sale and assigmnent to Company of the above-mentioned rights in ·f.b.e Prop~rty, which rights
        are more fully describP~ in the. s,greement.
        IT \VITl'ffiSS WHEREOF, the undersigned has executed this Assignment on the date indicated
        below.

                                                 DATED:        I~arch   18, 1999




                                                 ~~~~----N-
                                                 S.S.#: XXX-XX-XXXX




        Scrempiay Optioo-Purchue 07/31/97
        GravityiGerr04EB.fJOl/$. 13.99




                                                                                                           Ex. 1 - p. 24
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 26 of 45 Page ID #:30




        STATE OF                (~~~,.,e      )
                                              ) ss:
        COUNTY OF kt\o x                      )


        On this      ..l~~t .         day of Mu..~                   , 1999, before me, the
        undersigned, ailotary Public in and for said tate, personalty aw...ared Terry T. Gerritsen.
        personally known to me or proved to me on the basis of ss.dsfactory evidence to be the
        person{s) whose name is (are) subs-cribed to the foregoing instrument and acknowledged to me
        that Terry T. Gerritsen executed the same.


        IN WITNESS 'NHEREOF, i nave taereunto set my have and affmed my official seal this day
        of Mu...g o11   , 1999 .




        ....,,)(, ((J(}th.l]j


      ;4:~- j {or;mw




        Screenplay Option-Purchase 01131191
        Gravity/Gcn04EE.OOl/$.13. 99
                                                      -14-


                                                                                                  Ex. 1 - p. 25
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 27 of 45 Page ID #:31




                                                            E.&H!BITC
                                                  PUBLISHER'S RELEASE
        In co&1Sidera.tim1 of good and. v~luable coMideration, the receipt and suffiCiency of which is
        hereby acknowledged. the undersigned hereby acknowledges and agrees, for the express
        benefit of KATJA MOTION PICTURE CORP. ar.:d its representatives. successors and assigns
        forever, that the undersigned has no claim to or interest in the worldwide motion picture or
        television rights Oi' customary ancillary or subsidiary rights or any other rights of any ltind
        other than publication rights heretofore granted to the W"J.iersigned, in or to that certain literary
        work published by the undersigned and described as follows;
                                                    11
                    Title:                               GRAViTY 11
                    Author:                        TERRY T. GERRITSEN
                    Date/Place of .Publication:
                    Copyright Registration:
        The undersigned hereby consents to the publication and copyright by and/or in the name of
        said au·fllor, author's heirs. representatives, licensees and assigns, in &ny and all languages, in
        any and aU countries of the world. in any form or media, of synopses, excerpts and
        sUtl'li'lllJrie.s, not exceeding 7,500 words m length each, of said literary work based principaily
        upon said lite~_ry work, for the purpose of advertising, publicizing and/or exploiting any such
        motion picture, teievi.sion or ot,l}er version, but there shrul be no limitation in length witlt
        resJ>~t to any motion pid.llrt;, television or other version not based principally upon said work,
        in"Cluding. but not limited to, sequel motion picturu and television series.
        IN WITNESS Vi.'HEREOF ~ the undersigned bas executed this instrument this _ _ _ day of
        ----~ 19_._.



        By:---------
        Irs: _ __




        Sc~enplay Option- Purd\as.c Cf1J31191
        Gravity/Gc:rr04EE.002/!i.t3.99
                                                              -15-

                                                                                                          Ex. 1 - p. 26
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 28 of 45 Page ID #:32




                                                 CONTLVS'IU!iG QUARAlfrY

        1.      As an inducement to Terry T. Gerritsen ("'Owner,.)) to enter into th~t cert..ain agreement
        (the "Agreement"), dated as of March 18. 1999. between Katja Motion Picture Corp.
        ("Company") and Owner pertaining to the services of 0\\fll!.r with respect to that certain
        proposed motion pictl.~re project entitled flGtavity" and for O<Nner to perform the services and
        in consideration of the benefits the undersigned guarantor (tlGuarantor") will derive from ihe
        execution of·the Agreeme~1t. a.l!!d provided tlult Owner is not materially in default under the
        Agreement, Guarantor guarantees full and faithful performance of.all of Company's obligations
        pursuant to the Agreement (the tlOuaranteed Obligations") . .
         2.      The GLw-anteed Obligations hereunder are independent of the obligationS of Company
         and a separate a.ction or actions may be brought against Guarantor whether an action is brought
         against Company or whether Com.pan.y is joined in any such action or actions. Guarantor
         agrees that its obligations h~reunder shall not be exhausted by any number of actions until the
         Guara.nteed Obligations have been fully paid and performed. This Guaranty shall remain in
         effect until the Guaranteed Obligations are fully paid, perfonned or discharged, and this
        .Gw;santy shall cominue to be effective or reinstated, as tlle case may be, if at any time
         payment of a.ny smount paid under the Agreement is rescinded or otherwise retw:ned. by Owner
         upon the insolvency, bankruptcy or «".Organization of Company, as if such amount had not
         been paid. Exee,p:t as set forth in P:u-agraph 4 below, Guarantor's obligations uuder this
         Guaranty are subject to all def~iW:c,S which Company may have against Owner witb respect to
         enforcement by Owner of the Gu.a,."'anteed Obligations.
        3.       This G~~anty is a.Continuing Guaranty of the Guar~..nteed Obligati~ns, including any
        and all Guaranteed Obligations that are renewed, e!{tended, compromised or restrucrured from
        time to time. Gll&m!ior agrees th.at any modificRtion of tl1e Agreement shall not affect or
        impair Guarantor~ s obligations under this Guaianty am autnori"Ees Owner 2t"ld Company upon
        thei.r mutu~J agreement without notice or demand and with()ut aff-ectirsg or impairing
        G.&tra.ntor's liability hereunder, from time to time to renew, oomptomite, extend, accelerate or
        modify the Agreement or otherwise ctwtge the tenns of tbe Guaranteed Obligations or s.ny part
        thereof. No assignment pet'lllitted by U~ Agreement wm relieve Guarantor of its obligations to
        Owner with respect to t!le Ouaranteed Obligations.
        4.      Subject to the demand requirement set forth in Paragraph 5 below, Guarantor waives:
        (i) any right to require Owner to proceed against Company; or (ii) any right to require Owner
        to pursue any othe!~ remedy in Owner 7 S power whatsoever prior to proceeding agamst
        Guarantor; (iii) any right of subrogation; {iv) any right, remedy or defense based upon an offer
        of perfow..ance of the principal obligation as set forth in Section 2839 of the California Civil
        Code; and (v) any right, remedy or defense based on the provisions of Section 2845 of the
        California Civil Code to toe extent that such does not restrict the rights of Company or
        Guarantor in the event of default by Owner. Guarantor waives any defense arising by reason
        of: (a) the insolvency or bankruptcy of Company; (b) lack of authority of Company or the
        person signing the Agreement on behalf of Company; and/or (c) any disability or incapacity of
        Company or person signing the Agreement on behalf of Company. Until all of the Guaranteed
        Obligations have been performed in full. Guarantor waives all presentmentst notice of or right
        to consent to any modification. extension or alteration (provided that no such modification,
        extension or alteration shall increase the obligations of Guarantor with respect to the
        Guaranteed Obligations); notices of non-performance (except as provided in Paragraph 5
        beJow); protest, notices of protest; notices of dishonor; and notices of acceptance of this
        Guaranty and of the existence. creation or incurring of new or additional obligations.


        Scn:enpiay OP:,ion-P\ar<:hasc 01(31191
        Gntvtty/Gc:rr04~.00l/5 .13. 99
                                                          -16-

                                                                                                      I;x. 1 - p. 27
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 29 of 45 Page ID #:33




         5.     Guarantor shall have no obligation to Owner hereunder with respect to any
         compensation unless and until such compensation sr..a.ll have accrued and been payable to
         Owner maccordance with the provisions of the Agreement and Company shall have failed to
         pay such c·ompensation as and when d~ and Owner si'aall have given Guarantor wdtten notice
         thereof and a period of five (5) business days shall have elapsed from the date Guarantor shall
         have received such notice pursuant to Paragraph l S of the Agreement.
         6.      In the event of ~itigation arising ou.t of or relating to thl.s Guaranty, the prevailing party
         shaH be paid its costs and expenses including reasonable attorney's fees relating thereto by the
         losing party.
         7.     This Guaran~ shall be governed by and construed under the laws of the State of
         California to whose Jurisdiction the parties hereto agree to submit.

         AGREED & ACCEPTED for




         Screenplay Opeion-Pu.rcha$C 07/31/97
         Cirav1tyt~r104Ell.002/S.13. 99
                                                          ~17·



                                                                                                            Ex. 1 - p. 28
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 30 of 45 Page ID #:34




                                                          EXHIBIT ."DNP"
                                                    DEfiNID) NET PROCEEDS
        Reference is hereby made to the AgTeement dated as of lviarch 18, 1999, between Terry T.
        Gerri~en  ("Pa1ticipam") and Katja Iviotion Picture Corp. CCompany") to which this Exhibit is
        att2ched.
        ~·    .    Definitions: As used in this Exhibit, the following terms shall have the meanings
        md1cated:                 .

                   A.         "Participant": The pany to t.ne Agreement to which this Exhibit is attached is
        entitled to     rece~.ve sums calcuiated on the b~sis of the net profits of the Picture;
               B.     "Picturetl:     T!le motion picture t•eferred to in the l)'rAeriying Agreement to
        which this Exhibit is attached;
                  C.         wTerritory qt: Unless ot.helWlse defined in the Underlying Agreement to which
        this Exhibit is atmched, the entire universe.
        ,.
                                                 As used in this Exhibit, "gross receipts ~ shall meall the aggregate
        "·
        of:
                  A.         .AJ! Sitl.m.S aictu.s.Uy ret>..eived by Compairf r!·om ll'ie following:
                       (i)     Lice~c; from Company directly to exhibiton of the right to exhibit the
        Picture for any and all pw.-pose$ (including reissues) on any cmd all sir..es and gauges of film, in
        any a.Dd rullangtUlges or versions, by my U..1!2m~ method., process or device now or hereafter
        known, invented, di~vered or devised including, witb.ou! limitmon, free television, video
        C~..$settes   and video discs,
                        (ii)    Licenses from Company to a third party (her~ir..after referred to as
        "subdistributor") of tile right to distribute the Picture (i.e., the right to license exrubitors to
        exhibit tb.e Picture),

                       (iii)   The license or iease of positive prints and!or trailers of the Picture (as
        distinguished from the licenses referred io in [iJ and [ii] preceding); the saie or. lease of
        sou.venir programs an'd bool"Jets; recoveries by Company from infdng~nts of copyrights in
        the Picrure; and the receipts from the exhibition of the Picture where Company has taken over
        the operation of the tbeatre (i.e., so-alled "four-wall deals") specifically for e.xhibition of the
        Picture.
               B.     All aid, subsidies (including so--called Eady monies) and cash prizes actually
        received by Company in connection with the Picture.
                  C.         Royalties with respect to the exploitation of home video devices embodying the
        Picture, computed in accordance with Exhibit ''DNP-1."

               D.      Royalties with respect to the exploitation of soundtrack recordings. music
        publishing and merchandising relating to the Picture. computed in accordance with Eithibits
        "'DNP-2. u !!D~'P-3" and "DNP-4,t' respectively.



        Scrc:cnpl~y Option-Purchase f¥7131r:T/
        Gravif)'/Gcn04Ea.00215.13.99
                                                                ·18-

                                                                                                                   Ex. 1 - p. 29
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 31 of 45 Page ID #:35




                         Gross receipts sh.all be detennincd after all refunds, credits, discounts,
        allowances and adjustments granted to exhibitors. whether occasioned by condemnation, by
        boards of censorship, settlem..."'ilt of disputes or otherwise. Non-retun:lable advance payments
        and guarantees sll..a.ll not t>~ included in gross receipts until earned by the e:J..hibitiokl of the
        Picture or applied by Company to the Picture. Other advance payments and securiey deposits
        shall oot be included in gross re::.eipts undl e~med by the exJrlhiti.on of tbe Picture, for.feired, or
        applied by Cornpany to the Picture. Gross receipts shall not ir~: ude (i) any portion t.itereof
        which is contributed to charitible org~tlor.:..s; (ii) the receir,ts of the following parties.
        wheth.. er or not divisions, subsidiaries or a.ffiliates of .Con""ipany or al!ly company comprising
        Com~ny; (a) exhibitors or others who tm.y use or actually exhibit the Picture, (b) radio or
        telev1sion bro~;Sters (incluiiing, without limitation, cab1e and closed circuit sysaems), (c)
        book or music publishers, (d, phonograph. reoo~d producers or distri~Jtors, and (e)
        mercbardisers, manufacturers and the like; {iii) any sums paid ot' payable to, or derived by      t

        Company for or in connection with, or as a result of, Company's production and/or
        exploitation of ilUlY motion picture(s} which constitute a remake of, or sequel to, the Picture, or
        the sale, transfer or assignment of all or any pan of Company's right to produce and/or exploit
        same; and (iv) any sums paid or pay$.bie to Company or any comp,~lny comprising Company or
        any of ~t& or ttieir subsidi des. affiliates or divJsions for or in connection with, or as the result
        of th.eir furnishing, supplying, rendering, procv.ringj arranging for or m..~ldng ava.llablc any
        marerials, equiptnent, ftacilities or services in con~tion with. the production of the Picture.
        3.       D~fw&d Net ~A~: The "defJ.fled. Ut!t proceedsfl of the Picture shall mein the gross
        receipts remaJ.nirJS !f'\e!' the deduction therefrom on a, condnu.in.g ba.sis, reg:.u:dless of when
        irA:CvlTed or payable, of Ute following items. such deductions and ilie application of the amounts
        deducted to be b1 the following order:
                 A.           Compauy's distribution fees   aB   set forth in Paragraph "4" hereof;
                B.     Compv1y 's distribution e;t~conses ns t.et forth in Parn&nph "5 ~ hereof with
        interest thereon at the mte of 2-1/4 % above the pli.me rate of Cha~ Bank, New York, from
        time to time in ~ffect;
               C.      To the extent not ir~cluded in the cost of production, an contingent amounts (if
        any) paid, or e~m:%t or payable whether or not payment is tben due Oi ml.de, with the consent
        of Company to any penon, firm or co~:1>0ration based upon. or computed in respect of, the
        gross receipts of tlle Picture;
                D.    The cost of production of me Picture zs defined in Paragraph "6" hereof (the
        fwncing cost. therein provided to be charged to be recouped before the other items therein
        referred to):
               E.      All deferred amounts payable with the consent of Company to any person, finn
        or corporation (including, without limitation, Participant) in connection witlt the Picrure (other
        than deferred amoWlts included in the cost of production of the Picture).
        4.       Distribution Pees: Distribution fees shall be computed as follows:
                A.      Thirtywfive percent (35%) of the gross receipts of the Picture derived by
        Company from all sources in the United States except United States free network television, as
        to which the distribution fee shall be nventy-five percent (25%). As to all odter Un.ited States
        free television. the distribution fee shall also be thirty-five percent (35%);
             B.     Thirty-five percent (35%) of the gross receipts of the Picture derived by
        Company from all sources in CaMda, the United Kingdom of Great Britain and Northern

        Screenplay   Oplkn~Pur.:buc (J1 /31/'17
        Grav~/Gerr04-EB.002/$, 13,99
                                                             -19-

                                                                                                              Ex. 1 - p. 30
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 32 of 45 Page ID #:36




         Ireland, Isle of Man, Malta, Gibraltarr the Republic of Ireiaoo, Channel Islands, and ships
         flying the flags of all nutions, other than those flying the /uneriCB,n flag, which are serviced
         from the United Kingdom;
                C.       Thlny J>~!rcent (30%) of the amounts included in the gross receipts of tbe Picture
         pursuant to ' c·• of Paragraph 2 hereof;
                          1




                D.      Forty percent (40%) of the gross receipu; dedve-.d by Company from any and all
         sources other than those referred to in A,~ "B, .. "C" a~1 wE" of this Paragraph 4;
                                                   II




                 E.     fJl distribution fees slmll be wculated o·n t,"w basi~ of the aggregate gross
         receipts without deductions or payments of any kind; provided, l1owever, that no distribution
         fee shall be payable with _respec~ to gross receipts included pursuant to "B" or "D" of
         Puagr.aph ;z hereof.

         5.      J) istribqtion Em:;nses: Company's distribution expenses shall include aU costs~ charges
         and expenses incurred by Company, or a subdistributor 80."!0unting to Company in respect of
         the subd!!itributor' s receipts as set forth i.u Para.grapb 2(A)(iH) hereof~ in COtulf'..cdon with the
         distribution, exJribition, adverdsin,g, exploitation and naming to acr..ourit of the Picture, or in
         the exercise of any of Compa.ny•s ol:ht1"" right~ in the.Picttue, of wh3tever kind or nature.
         includ-ing, without limitation, all costs, clw.rges an~ ex.pen..~s incurred for or in connection with
         any of the following:
                  A.   All negatives. sound trac:r..s. ptints and other physical properties utilized in ·
        conr:r~tion with the distribtJ.tion of the Picruxe and aU rer.vir~ and. facilities rendered or utilized
         in ctJxmtdion with such physical propmies.
                B.       Advertising~ p:a.·omoting, exploiting and publicizing (hereinafter colleetively
        referred to u "advertlsi.ngM) the picwre in any way. including, without limiation, an costs of
        cooper:8.tive, theab7~ or joint advertising in connection with exhibition of~ Picture in t}y;attes
        or other places where m1 a~T1o~ion is charged, which Company or any subdisttibutor pays or
        is charged with; toW"S and penonal appearances; audience testing and market research;
        salaries. living costs and traveling eXP'.}n&.es of regular employees of Company w~ere ~ruth
        employees are assigt1ed to rend~r services in connection ·with ~ advertising of the Picture,
        a.ppropria.teiy alloca.too to t.&"le Picture; trailers~ includw.g, wiiliout limitation. the cost of
        production thereof, to the extent not included in the cost of production of the Picture: and
        advertising overhead, which stwl be an smoo.nt equal to ten p~rcent (10%) of the aggregate of
        aU other amounts which constitute advertisin..g expense$ under this Paragraph "B." R.ebs.tes
        shall not offset e:.{penses nor~:: considered as receipts of any kind.
                C.     To tt-e ex.t.P~ not inclUded in the cost of production of the Picture, all costs of
        preparing and delivering the Picture for distribution, iJY:;luding, without lit.rritation, all costs
        incurred in connection with screenings, the production of foreign language versions of the
        Picture, whether dubbed, superimposed or otherwise, all costs and expenses in connection with
        changing the title of the Picture for release in &lly part of the Territory or for exhibition on
        television or other media, or in order to conform to the peculiar national or political prejudices
        likely to be encountered in any part of the Tenitory. or for any other purpose or reason.
         .      D.      All sales, use, receipts, excise, remittance, value added and other taxes
        (however denominated) to any gove:nmental or tax.ing authority assessed upon or with respect
        to, the negatives, duplicate negatives, prints or sound records of the Picture, or upon the U5e or
        distribution of the Picture, cr upon the revenues derived therefrom, or any part thereof; any
        and all sums paid or accrued on account of duties, customs and impostsi costs of acquiring
        permits, and any similar authority to secure the entry, licensing. exhibition, performance. use

         Screenplay Option.Pun:hase 07/31/97
         Gr.vlty/Gur04EE.OOl/5.1l.99
                                                        -20-

                                                                                                            Ex. 1 - p. 31
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 33 of 45 Page ID #:37




        or televising of the Picture in a.ny countrt or part thert.of, rega.rdless of whether such payments
        or accruals e.re assessed agair.st the Picture or the proceeds ttiereof or against a group of
        motion pictures in which the Picture may be induded or the proceeds thereof. In no event
        shall the re-coupable amount of any such tax (however denominated) imposed. uP9n Company
        be decre2.sed (nor the gross rero~ipts ir.creastd) b:cause of the manner in which such taxes are
        elected to be treated. by Comp~y in filing net income, corporate, franchise, excess profits or
        sim~l~ tax !e~m;. Subject to the foreg<?in~: PwJcipa~t shall not be required to pay or
        parttctpate m (1) Companyfs or any subdlStnoutor's Uruted Stares Feder;J and State income
        ~es and frauchi&e taxes based on Co1npany's or such subdistributor's IWt income; or (ii) any
        mcome tax payable to .any country or teaTitory by Company or ~Psny su.bdistributor based on the
        net earnings of Company or a~ch ~.Jbdistributor in such counb'}' or tenitory. Compmty shall
        be entitled to claim and receive, and h1 no event shall Participant be entitled. directly or
        indirectly. to claim. share or participate in or olherwise receive or derive, any and. all tax or
        other benefits of ~.ny kir.ll'ti or nature arising out of, in connr-;etion with. or otherwise accruing in
        tesp.oot of any and aU tllxes (however d.enomin~ted) described .in t.l.tis Paragraph D, including.
        without Iimitatim:t, any and all tax credits or deductionS directly or indirectly attributable
        there~o or based .thereon. Expense~ of transmitting to the United States any funds accruing to
        Company from tt.e Picture in foreign counojes, such as cable e~penses; or any discounts from
        such funds ta..lcen to coo.ve11: such funtjs directly or indirectly into U.S. dollars and the cost of
        contestin;. or s~tt.Hng any of the tr!atterg described above. witll a view to reducing the same,
        shall sinularly be deducted.                                                                   .
                 E.       Copyright, patent and. trademark expenses; royalties payable to manufacrurers of
        sound rr..cording ruxi reproducing equipment; dues ar..d assessments of the r,~otion Picture
        Association of ~"llerica or other associations or bOdies~ including paytt'.£n.ts for the support of
        the Academy of Motion Picture Arts and Seier~ , legal fer...s, and aD.y and aU oilier expenses
        in addition to those referred to hertt:in inr.urced by Company in conne.;ction with the licensing of
        tl~e Picn.,re for· e):bibidon or for ot.t.'ler uses of the Picture.

                F.      Costs and ~..penses (including reasonable P.ttorr~y&' f~), ir;;~ by Company
        i.n connection "'Arith :a_ny action taken by Company (whether by Utiga.tion or otb<~rwise) in
        enforcing collection of groSi receipts; or (on a pro rata brit!s) for crd!Cking a~"lee and
        exhibitors' receipts; or to preventu~.uthorized eJillibition or distribution of the Picture; or to
        prevent any impainnent of, encU.41IDi"3l!te on or infringement upon1 the rights of Company in
        and to the Picture; or in conn.f£tion wit'J the 1.uditi.~g of boot..s and records of any exhibitor.
        subdistributor or licensee; or to recover monies due pursuant to any agreement relating to the
        distribution or exhibition of the Picture,                    ·
                G.    All costs where Company b.as taken over the operation of the theatre (i.e ., so-
        called "four-wall deals") ot' guaranteed a minimum payment to the exhibitor;
                H.       All payments paid or payable pursuant to applicable collective bmrgaining
        agreements by reason of any exi"lbition of the Picture or by reason of, or as a coooition for,
        any use. re ..use of re-run thereof for any purpose or in any manner whatsoever tberein called
        "residualsfl), and aU taxes, pension fund contributions, and other costs and payments computed
        on or payable in respect of any sueh residuals or participations in ·the net profits or gross
        receipts of the Picture to any person; ftrm, corporation, guild. union, trustee or fund (other
        ths.n Company); provided, however, that if Participant, or any principal stockholder of
        Participant, or any heirs, executors, administrators, successors or assigns of Participant, or any
        such stockholder are entitled, either directly or by way of prJticipation in any pension fund, to
        any such residuals, the amount payable on account thereof shall not be deducted under this
        Paragraph "Hit, but shall (to the extent permissible under applicable collective bargaining
        agreements) be treated as an advmce against Participant's share of the receipts hereunder, and
        conversely, any share of the receipts paid to Participant hereunder shall constitute an advance

         Screenplay Option·Purc:base 07/3119'7
         Gra:vity/Gen04EE.002/.S. 13.99



                                                                                                              Ex. 1 - p. 32
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 34 of 45 Page ID #:38




        against such residu&ls payable to or for the ber.tefit of Participant or m~y principal stockholder
        of Participant, or any sucb heiYs, executors, administratorsi successors or assigns.
                I.      All insuranc~ (to the extent not included i.Jl the cost of production) covering or
        relating to the Picture, includir».g, but not Umited to, errors &'1d omissions insurance; provided,
        however., that Company shaU not be obligated to tak,~ out or nulintain any S\\Ch ir~urance,
        provided, however, that s.ny and ,aU monies recoverr.d pursumt to an approved insurance elaim
        from the applicable insurance carrier for the Picture shall be deemed included in "Gross
        Receipts" of the Picture pursuartt to Paragraph 2 above;
                 J.      No (i) discounts, rebates or credits reeeived by Com.pmy or a subd.isttibutor as a
        result of or ba,~ on (a) th~ voiu.m.e or quantit)' of advertising placed or prints ordered, or (b)
        tf\u: m.anoor or time of payment ~n;de for any distribution expense ~ or {ii) advertising agency
        commission rcb~res received by Company or z subdistributor, shall be udcen into a<.'.count in
        computhtg distrlbuti.on expenses.
        6.        Cost of Production: The "cost of prcducdon • of thG Picture shall mean the aggregate
        of tl'~t following:
                 A.      Direct Costs: All r..osts, charg~s and expenses (hereinafter referred to as "direct
        costs") incurrr.d in connection with the prod.uction of the Picture, computed ~.nd determined in
        &.U res~"!Cts in the same m.anner as Company custolllP..rily det,ermines the cost of othet' motion
        pictures produced~ distribuu:d and/or fina.nced by it. Such direct costs sh~Il include aU
        defem~nt.s and pru'dcipation.§ p~yable prior to net profits beiug realit.ed bereunder, whether
        such a.n:~unts are denom.inatetJ a:; a fiXed sum the plyment of which vests upot!. dte expiration
        of a. period of ti;roe o.r upon the occurrence of a certain eve~t t:>r upon the att~b1m~nt of a
        specified level of receipts or profits, or as a percentag:e of the ft¥"~ipts of the Picture (however
        calculated).                   ·
               B.      (l)    Supel"Visoty F~: A supervisory f~ to Company equal to twe!ve and
        one-half p! rccnt (12"1/2") of {i) all direct costs, (ii) all amounts di!dtlctibJe pursuant to
        Paragraph 3 (E) above, and (iii} aU gross participations which are payable prior to Company's
        recoupment of all amounts deductible pursurmt to Paragraph 3 hereof.
                         (2)     Overh¥~.d .Ch:~.rg~: An overhead charge to Company equal to ten percent
        (10%) of (i) all direct costs, (ii) aU amounts d~uctiblt; pursuant to hragraph 3 (E) above, L1Ci
        (iii) ail gross participations which are payable prior to Compan.y•s rr;:eoupinent of all amwnts
        deductible pursuant to Paragraph 3 hereof.
                C.     ~: For the purpose of reimbursing Company for its financing costs, an
        amount ~rein referred to as the "financing cost") equal to the equivalent of interest on the
        aggregate (hereinafter referred to as the "negative cost") of (i) the direct costs, and (ii)
        Company's supervisory fee, which firWlcing cost shall be computed and charged from the date
        of the apP.Ucable advance or expenditure and continue until the midpoint of the accounting
        period wtth regard to· which such advance or expenditure is recouped by Company and sMll be
        at a rate which is one hundred twenty-five percent (12.5%) of the prime interest rate being
        charged, from time to time. by The First National Bank of Boston.
                D.      Overbudget: If the negative cost of the Picrure shall exceed the total cost
        reflected in the budget therefore approved by Companr by five percent (S%) ("Cushion") or
        more, t.~n. to compens&te Company for the additiona fmancial risk it will have taken with
        respect to the Picture, there shan be added to and made a part of the cost of production a sum,
        which sum smll not bear interest, equal to the amount by which such negative cost exceeds the
        totaJ of such budgeted cost and the Cushion; provkied, however, that for purposes of this

        Scrunplay Option-Purchase C1113l191
        G~viry/Gert(}o<3Eti.002J$ .13. 99
                                                       ~22-



                                                                                                         Ex. 1 - p. 33
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 35 of 45 Page ID #:39




        Paragt~.ph D only. costs resulting from the following shall not be taken into account in
        determining such excess: (i) rAew scents 1dded at the request of Company which were not
        required by the a.pproved s.~reenpiay; (ii) "cover shots" or alternative scenes required to make
        the Pic~·u--e acceptable for television broadcast which could not have been reasonably
        anticipated at the time the screenplay for the Pictu.re was approved by Company; (iii) increases
        in minimum comP=nsation required to be paid f•Jr the servic~s of penonnel engag'ed in
        connection with the Pictu1·e pursuant to any applicable coJlective bargaining agreement to the
        extent that such increas~s could not have been :reasonably anticipated a.t the time the budget for
        the Picture was approved by Company; (iv) changes in the screenplay or the production
        schedule or other plans for the production of the Picture required by Company after the
        spproval.by Com11any of the budget; and. (v) th~ occurrente of an event of force maje:ure.
        7.        All<qtions: Whenever Comp:my (i) makes a.ny expenditures or ineurs a.ny liability in
        r~p--xt of. a grout! of motion pictures, which inclu.d~ the Picture, or (ii) rereives from any
        hce~ee ~1ther tt f1at. ~ or a r..ercen~ge of ilie receapts, or both, for any nght to a group of
        motton ptctures, wh1ch mcb.lcies the Ptcture, under any asr;reement (whether or not the same
        shan provide for the exhibition, sale. lea.se or delivery of positive prints of any of sa.id motion
        pictures) which doos not ·specify wtw portion of the license payments apply to tile respective
        motion pictures in tb~ group (or to su..eh print! or other Jtm,terit l, if &ny. as may be supplied),
        ihen in any End all such situations, Company shall, in Jood falth, i~lude in, or deduct from,
        the gross ~.eipts, as the c.ase may be, such suiD$ as may be reasonable. If Company
        reasonably anticipates retroactive wage adjustments, ta%d , residuals, unconectable accounts,
        or other re~,sonably a.uticipated costs, expenst.s or losses reb ting to the Picture, which, if and
        when in.c:urred, will be properly deductible hereund.er, Cam.pany m~y set up appropriate
        reserves thtrefor. Company ag:r«.s to liquidate any such res.:;rves within a ressonabl~ time.
        8.      Fo~_BD_~: No sums ~ived by Comparay b~ resf*t of the Pictu.~ shall be
        incJ.udoo in gross rer.Aipcs or in statemenm hereunder for the purpos.e of deterr.run.ifl$ any
        amoum payable to PLtticipant, unless such SWJlS :are fl."eely remitmble to Company m U.S.
        dollars in the United Staws, o:r used by Company. SUIDS derived from ter-ritories outside of the
        United States, or~ by Company. ~\tm.s· derived tt<Yil1 tenitories outside of the United States
        which are not remittable to Company in. the United Stttts in U.S. d.ollt;.rs by reason of currency
        or other re§trictions shall be reflected. on. state!r.ents rendered hereunder f<u irJom1ational
        purposes only, snd Comp~y shaH. at the request anciexpense of participant (subject to any
        and aU limitations, restrictions, laws, rules, and regulations affecting such transactions),
        deposit into a bank designated by Participant in the country involve:l, or pay to any other party
        designated by" Participant in such country, suc.h p~Jn. there:of~ if ~ny. as would ha.ve been
        payable to Puticipant hereunder. Such deposits or pa.ym~e nts to or for Participant slmll
        constitute remittance to Participant, and Company shall bave no funher responsibility therefor
        Company makes no warranties or representations that any part of a,ny such foreign curreocies
        1L1ay be converted imo U.S. dollars or transferred to the ac:count of Participmt in any foreign
        country. Costs incurred in a territory duri.Dg a period when all receipts are bl~ked shall bt
        charged only against blOGked receipt! from such territory. Costs incurred in a territory during
        ~ period when part of the receipts is blocked. and pan is remitmble to the United States shall be
        charged proportionately against the blocked and dollar receipts from said territory. However.
        if costs charged against blocked receipts, in either of the foregoing instances, have not been
        recovered therefrom within twelve (12) months after such costs were incurred, the ~ticit shall
        be compute.xi in dollars at the official rate of exchange in effect at the end of such tWelve (12)
        month period and recovered by Contp&ny from dollar receipt$, irrespective of the source.
        9.     Earnings Statements: Company sh~ll render to Participant periodic statements showing,
        in summary fonn, the appropriate calculations pursuant to this Exhibit. Such sw.tements may
        be on a billings or collections basis, as Company may from time to time elect. Statements
        shaH be rendered quarterly during the twenty-four (24) month period following the initial

        Screenplay Option-Purchase 07/31197
        Oravity/GcnG4EE.OOV.5. 1).99




                                                                                                          Ex. 1 - p. 34
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 36 of 45 Page ID #:40




        release of the Picture, semi-annually during the next thirty-si.x (36) month..s and annually
        thereafter; provided, tlu!.t no statement need by rendered for any {ll{;riod in which no receipts
        are received or charges intun·ed. Sts,iements rendered by Company may be changed from time
        to time to give effect to year~nd adjustments made by Company's Accounting Deputinf,nt or
        public acwuntants, or io iieres overlook~ to correct etTors, to reflect any indebtedness which
        rnay become un.;ollectablet or for any other purposes. ShO""~ld Company make any
        ow~rpayment to Participant hereunder for any reason, Company shall have the right to deduct
        and t'etain for its own F..coun~ an amount fqual to any such overpayment ft'om any SU..'ll.S UL't
        may thereafter become due or payable by Company to Pllrticipant or t.Jr Participant's account,
        or rnay demand repayment from Participant in which e~ent Participant haU repay tire same
        when denwxi is made. The right of Particip.11..nt to receive, a.nd the obUgation of Compa.,y to
        account fo~. my share of fh:e gross x·eceipts of thf: Pi~ shall te~h.aare if the fi~t earnings
        statement tSS'tted after the Ptcture has been D1.l1de ,~vailablc for er..bibttion on S}'ndtt:3lcd
        television in the United States shows a deficit under P~n..graph 3 hereof vlhf"owb would require in
        excess of Five Hundred ThouS!tnd Doll&rs ($500,000) in gro~ receipts to reach net profits
        hereundei". Any U.S. dollars due and payable to Participant by Company purstmnt to any such
        statement shall be paid to Puticipmt sunu1taneously with~ rendering of such stat.cment;
        provided, however, that all amounts payabl~ to Participant hereunder shall be subject to aU
        laws and regu~atiom now or l1-:;reafter in existen~.e requiring the ~uctiol!l ~r withholding of
        payments for mcopw or <tbt!r taxes payable by or assessable agaumt Part1c1pant. Compmy ·
        shall have the right to m.'lke such deductions a.'!d withholdings, and the pavrnent thereof to the
        governmental ageney coD:emed in accordanr,e with its interpretation in gOod faith of such laws
        and regulations s.b.all eonstitu~e pay!llent het"eunder to Partictpant, and Company shall not be
        lilble to Pal'tidpant for u'le making of such deductions or   wit.~iolding~   or the papr..ent t.~ereof
        to the governmental agency concerned. In any such event Participant shall make and pro..~U-~ute
        ~tuy and all claims which it may have (and which i~ desires iO make and pro54~ute) with respect
        to the same directly with t.h~ govemmclllal agency b.aving jl'lisdiction in the pren:.ises.
         10.    .Ag'QU:tttin~Recoros and AUdit RJghts.: Company sball k~ at its main offices in the
        United States boo of account relating to the distribution. of the PicturQ (which l>!>Oks of
        account are hereinafter referred to as •records"), which sh&U te kept on the SM~.e basis~ iJ;l the
        same nw.mer, at the same place and for the same periods as such records s.re customa.tily kept
        by Company. Participant .£rwy ~ at ita. o\vn expense, bu.t not more t.tu,n once annually, 'udit the
        applicable records at the: aforesaid office in order to verify earrungs statements rendered
        hereunder. Anv such audit studl be condl.\Cted only by a reputable public accountant (subject to
        Company's .reaSonable app.rovru) during ruoonable busint.ss hours and shall not continue for
        more fh.m tbiny (30) consecutive da.ys. ft:ny such audit shall br: conducted in such manner as
        not to interfere with Company's narmal business activities. In tlds regard, Company shall
        have the right to fix the date for the commencement of any such audit so as to coordinate said
        date \vith the cotD.ITsencement .dates of any other audits with respect to the Picrure to be
        conducted by third-p~lty participants. Participant shaU not have the right to examine or inquire
        into wy matters or item! which ~U'e embraced by or con'..ai..~ in any such statement after the
        expiration of twelve (12) mon!hs from and 1fter the date of mailing of such statement, &nd such
        s~.tement shall be.. rmal and conclusive upon Participant upon the expiration of such twelve (12)
        month period notwithstanding that the matters or items embraced by or contained therein may
        later be contained or referred to in a cumulative statement pertaining to more than one
        a,ccounting period. Such cumulative statement shall not be subject to audit by Participant to the
        extent the material contained therein was first reflected on a st.1tement submitted more than
        twelve (lZ) months prior to the date of mailing of such cumulative statement. Participant shaH
        be forever barred. from maintaining or instituting any action or·proceeding based upan, or in
        anywise relating to. any transactions had by Company, or its licensee&, in connection with the
        Picture which are embraced by or reflected on any statement rendered hereunder. or the
        accuracy of any item appearing therein, unless written objection thereto shall have been
        delivered by Participant to Company within twelve (12) months after the date of mailing of the

        ~rcenplty Opdon·Purehase CJ7/3 t ICJ'l
        Oraviry/Gen04EE.002/5.ll.99
                                                      -24·

                                                                                                             Ex. 1 - p. 35
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 37 of 45 Page ID #:41




        statement on which such transaction or item was frrst reflected and unless such action ot·
        proceeding is commenced within six {6) months after delivery of such writte~1 objection.
        Participant's right to examine Company's records is limited to the Picture, and under no
        circumstances shall Participant have the right to examine srecords relating to Company's
        business generally or any other mot1on picture for the purpose of compuisoa or otbe~1ise:
        provided~ however, that in t.!le ever4 that.Company includes in~ or deducts from, U1e gross
        receipts any sums expended or received in connection with any sull'l! expended or received in
        cormection with any of the transactions referred to in the fU"St senteir..e of Para.graph 7 of this
        Exhibity Participant shall have the right to examine Company's records with re:sp.:ct to the
        other motion picru.re(s) which are part of tlle group of motion picru.res which mre the subject of
        such tr.~action(s), but oruy insofar as such records rehue to such paonicular transaction or
        transacuons.
        11.    H.olifjng$. Fumis: Con1pany shal~ not be considered a tro_s~, pledgeholder, fiduciary
        or agent of Part~c1pant by reason of anytbh1g done or ;,my money collected by it~ ar&d shall not
        ~ obligated to r..egregate receipts of tu1e Picture from its ot:her funds.

        12.     :QMler§bi~: Participant shall oot hs.ve l,ny lien ot· oth~r rigb~.s in or to the gross receipts
        of the Picture, it b-!ing understc-od that ilie references herein thereto are intended solely for the
        pw:r,ose of detenrililing the time, nuumer and amount of p&yments. if any, due to Participant
        hereunder.
         13. · ~.-Wi~ie§; Cornpany shaU have complete a1Uhorlty to Ucer~e. market and e~ploit
        t.'le Picture a...,"ld aJl rights therein. or to refraln from so doinJ. in ar...cordar'J;e wit.i:t such. sales
        methods, policies and te:nns a.s it may, in its reasonable busmess judgment, exercised in good
        faith, d.eturill..tle. Compa_.ny shall not be required to itself exercise aJny of its rights but may
        license, sub-Ucet:u;e or assign any or all thereof, as it may elect, to any licensee, sub-licensee,
        subdis~r.ibutoi· or assip.e (including, without limitation., any of the corporations comprising
        Company or any ~f Compmy 's or their subsidia~ ~r. aff~iates). Company may modify,
        amend, cancel, adJUSt and alter all agreements, exhib1uon hcenses, rental tums, sales methods
        and policies relating to tbe distribution, exhibition and eKploitation Qf th~ Picture uad any other
        of its rights as it may deem advisable; adjust, increase or decrease the amount of any &IIowance
        to any exhibitor or licensee for advertising and exploita!ion whether or not in-cluded in any
        theretofore existing agree~r~nt or H~nse; license the distribution and exhibition of the Picture
        (or otller rights) upon percentage rentsJ or flat rentals, or both., and jointly with other motion
        pictures or sepan.tely, as it shall deem desirable. Company shall have the right, in its sole
        discretion, to license tbe Picture for television or other types of exhibition at any time, and to
        cause or pennit any such television or other exhibition to 0.: on. a sponsorsrup, sust&ined or
        other buis, Compmy may, but shall not be requited to, re!~, reissue or re-release the
        Picturt; in any put of the Territory as may be consistent with the business policies of
        Company, and Con1pany in its sole discretion may detem1ine for any reason, and in respect of
        any part of the Terntoey, wtl{;n. where md whether the Picture should be released, re-rele-ased
        or reissued and the duration of any such release, re·release or reissue. If the number of motion
        pictures which may be distributed by Company in any coontry or territory shall be limited by
        government, industry or self-limitation, the selection of motion picrures to be distributed by
        Company therein shall be by Comp&.ny in its sole discretion. Participant shall be bound by the
        terms, provisions and conditions of any agreements heretofore or hereafter made by Company
        (or its subsidiaries) pursuant to any resolution of the Motion Picture Export Association (or
        similar organization) or made by Company alone with any governmenl or governmental agency
        made by Company alone .with any goverrunent or governmental agency relating to any
        particular coun~] or territory. Nothing contained in this Paragraph. 13 shall be deemed to. nor
        shall it, limit or restrict Comp;ny's rights under Paragraph 15 hereof.


        Screenplay Opdon-Purcb# 07/31/tn
        Oravii)'/Cien04EE.002/S.l3.99
                                                           -25-

                                                                                                                   Ex. 1 - p. 36
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 38 of 45 Page ID #:42




        14.      Licenses to Controlled Facilities:. No V\7arranties: If Company licenses the exhibition of
        the Picture to any theatre or television station or other facility owr.ed or controlled by
        Company or in which Comp2ny has a..Vl iruerest, directly or indirectly. Compa.ny shall do so
        upon terms consis~nt with those upon which Company licenses th~ exhibition of the Picture to
        facilities in \Vhich it does not have an interest Company htt..s not made any express or implied
        representation, wan-a.nty. guaran~ or agJ."e'ement (i) as .to the amount of gross receipts which
        wiU be derived from the·distribution of the Pictv.re, or (ii) that there will be any sums payable
        to Participant hereunder, or (Hi) tb.at the Picture will be favorably received by exhibitors or by
        the public, or will be distributed or that ar1cy mch distribution will be r.ontinucius, or (iv) that it
        now has or will have or control s..ny theatres or facilities in the United Sta.tes Ol' elsewhere, or
        (v) tl:mt any .Hcensee will rrru::e payrAent of my sums payable pursuant to any agreement
        between such Ucen1ee arid Con1pany, Company's obiigaHon heretJnder being limited to
        acccunting only for su~h sums as may be actually received by Company from such licensee.
        In nQ . ~vent shan Part.icipa.nt make any clairt~ al'i&t Company has failed to realize receipts or
        revenues which should or could have t~. realized in. connection wit!'l the Picture or ~any of
        Company's rights therein.

        lS.     Sile of Pict,ure:. Co~any s~ll have ~~t~ right. at any time, to sell, ~fer, assign or
        hypothecate ad of tts n'ht, utle ~'ld mterest, m and tc the Plcture and the negative .and
        copyright thereof; provlded \hs.t any such sale,, tran:.;fer, n.ssigrdnent or hypothecation shall b-e
        subject to Participant's rights hereunder. Upon th~ purch&ser, traru~ferr;e or assign~ assuming
        performance of Company's obHg;;stions hereunder in place md stead of Company, Company
        shall, provid.ed t.Mt such pttreb.~'!r, transferee or asstgnee is at the time of its assuming
        perfomumce a finrulCia!ly respmuibk~ P-ut)', be r~leased a.nd discharged of snd. from any
        farther liability or obligation hereunder and none of tl"Ae morLies ot· ot.~er consideration rlf.leeived
        by. or paid or ~a.yable to, Company sball con.suture gross receipts hereunder, and Participant
        shall have no nghts mrespect of any thereof.
        16.     AssigtJ..?WflJA!~.: Participant shall not have tl e right, prior to tl'te eontpletion and
        delivery of the Pi.cwre? to sen. assign, trausfer or hypo~...$.te (all hereinafter referred 1.:0 as
        .,assign .. ) aU or any P"Xt of Participant's right to reuive th-e mor..ies payttble to Parti.cipan!
        hereunder. Thereafter, Participant may assign Participant's said right, provided, however, that
        (i) Corrtparty stsall not bt required to aoo;pt or honoi any assignment or assignments which
        would result in requiring Comp~'1Y to mP.ke payments to :m aggregate of more th.an two (2)
        parties unless a single party is desig-nat®-rl to ~ive and disburse all monies payable to
        Particip~nt and. to the parties entitl~J w ~b;Ji'e therein; and (ii) in no event sballlny party other
        than Participant have the right to audit Company's records by reason of such assignment. Any
        such assignment shall at ~11 times be subject to all perJnent laws and goven:unental regulations
        and to all of the righis of Company hereunder. In the event that Panicip;nt (OJ' my transfeR"ee)
        shall prop~ to assign ali or part of the monies payable to Particip&nt (or any transferee)
        heieunder! other tlMtn by way of bona. fide 'i~.' bequest or dev~~- dissolution o_f Parti.c~pant (if
        a corporation} or corporate merger or acqutSition of all of PartK;tpa:nt•s assets (tf Pan~ctpant
        has substantial assets other than the Picture), Company shall have the right of first refusll to
        acquire the same~ which right Company may exercise within ten (10) days after receipt of
        written notice fl'om Participant (or B~.ny transferee) specifying the tenns and conditions upon
        which Participant (or any tnmsferee) proposes to make such assigrunent. Should Company fail
        to exercise·said right of first refus;;J as aforesaid, then Participant (or any transferee) shall not
        assign monies or any part thereof to any third party upon tenns and conditions more favorable
        to such third party than those set forth in said written notice without again giving Company the
        opportunity to exercise said right of first refusal in accordance with the foregoing procedure.




        Screenplay Option-Purchase (17/3 1197
        Qravity/Gerr04EE.002f5.13.99
                                                         -26-

                                                                                                             Ex. 1 - p. 37
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 39 of 45 Page ID #:43




                                                 EX1-DBIT "DNP-1"
                                                  VIDEO DEVICES

        Provided tha~ Company is vested with lhe right to mantdacture and distribute the Picture on
        video cassettes, vidto t-1.pes~ video discs and similar compact audio-visual devices (nVideo
        Devices .. ) intended to be sold or leased to the public as a dev~..e intended primarily for "home
        use" (as such tennis comn1only undersiood in the motion picture industry). and that
        Pru.ticipant or ru1y third party affiliaied with or subsidiuy to Participant or of which Participant
        has beneficial or constructive control shall not be entitled, separate and apart or indepetdently-
        from th.is Exbjbi~, to any p-~:rtion of the royslties or revenues derived from any Video Device
        In.all-,ufa(;turing 9..00 dbzttibutioa dji1.ts iit the Pict\lre, the gross r~ipts of the Picture shali
        jnciude a royalty on .. Vid.eo Gross Receipts" (as defined ~low) in accoi"ds.."l.("~ with the
        applicable percentages set forth ~!;low.
                1.     With r-~s11eet Video Devices manufactured and sold in the United States, the
        gross receipts of the Picrure shall include;
                        (a)    Twentt perct:nt (20%) of Video Gro$£ F.ec:eipt.s from the e;.~ploitat!on of
        th.e Picttlm on v~deooassettes witl'i a suggested retail price of more than $29.95;
                      {b)    Ten percent (10%) of Video Gross Receipts from the ®Xploitation of the
        Picture on video:usettes with a suggested retdl price of $29·.95 or less;
                       (c)    Tne royalty rate on &ny lusrdisc, ot uny Vid'ro Devices other tfu~n
        videocassettes (new usclmo~ogi~s. includw.). will be three-fourths (3/4) of tba ot.'tle:r"Jise
        appiicable royalty       n;.~;

                     {d)    No royalty shrdl be incl.u.ded in the gross receipts of the Picturt for Video
        Devices where th~ Video Gros~ :B..eceipts derived exceed Coanpany 's mauufacturing costs by
        $1.00 or less (i.e., remainders):

                         (1)    11/ith respr;JCt to Video Devices distributed for ultima.te distritn;u:ion by
        ma.ii order, tlclubu saies or simil:t.x plans, through key-otltlet mar.Y..eting, !Ubdistributors. or as
        part of a prem.it.ml promotion whereby iter,u are distributed a_s, an i11dt\cetnent to the purchase
        of such Video Devices, t.lle royalty rate will be fifty percent (50%) of tllt otherwise applicable
        ra~.                                                               ·
                      (g)     The royalty nne on ~,.ny Video Device sold for disttibution through
        military exchange chan.nel~ will~ one-bruf (1/2) of the other applicable roy2lty rate.
                        (h) · With respect to· Video Devices not consisting entirely of the entire
        Picture as relC2SOO theanicaUy to the general public, the amount to be included in the gross
        receipts of the Picture shall be prorated by multiplying such amount by a fraction the
        numerator of which is the running time of all scenes or "highlights• from the Picture included
        on such Video Device, and the d~nominator of which is the total running time of such Video
        De,!ice; provided, however, that no amount shall be included in the gross receipts of the
        picture in resp-sct of Video Devices which include scenes or "highlights" from the PictUre .for
        promotional or advertising purposes.
               2.      As to Video Devices sold outside the United States, the amount included in the
        gross receipts of the Picture shall b~ one· half (l/2) of the amount referred to in Paragraph 1
        above. The aforesaid amount shall bE: computed in the national currency of t.lte country to
        which the wholesB-te· price so elected applies and shal1 be paid at the same rate of exc;hange as
        Screci1912Y Option-Pwclwe 07/31/97
        Orevity/<kn()4EE.002/S.13 .99
                                                         ..27-

                                                                                                             Ex. 1 - p. 38
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 40 of 45 Page ID #:44




        the rate at which Company i~ paid; provided, however, that such amounts on such Video
        Devices shaU not be included m the ~ross receipts of the Picture until payment therefor has
        actually l>:en received by Comp.my m the; United States.
                  3.       "Video Gross Receipts"' means 100% of all monies actlL'illy receivf.d by· or
        credited to the account of Company from tl1e t;Xploitation of the Picmre on Video Devices.
        subject to the foUowing ~xclusions and deductions~
                        (a)    E?«!Iu§iO!?.f from V~~ GrQH..~~ Video Gross Receipts shall be
        determined after all refunz, credits, div..oums, rebates, allowarU"...es and adjustment$ JJ!"allted to
        su.bdistributors, wholesalers, ret'UJers and other p~cers a00 licen...~s. In additiO!l, the
        following shall be excluded·fTom V.idto Gross Rec.eipu:
                                  (i)       Any mol'lie.s derived by any local &~bdistributor, wholesaler or
        reta~er  from. the sale of Yidoo Devices, or by any ]()l""~ sait:s o.r promotional orga~rlz~tion for
        servtc.es rendered on tbell' behalf, whether or oot ruch subd1stnbutor, wholesaler, ·retfliler or
        sales or promotional organization is owned opem.ted or managed or c.~ntrolled by Comoany·
        provided howeve!• ~the event Video Devices ;..resold or leased io a.ny such ovlr~ , o~~r.a~
        or ·mai.Jaged subdtStrtburor, wholesaler or re:\l.iler Conll)any agrees that the terms of such s~le
                                                                             Q

        or lea." shaH be substantially the same u the tenns of sale or lease of Video Devices to
        un.~la.ted entities, in o.ccc>rda.I1CC with industry standards.

                                     (l't'\J    A-,
                                               .n..U.J   su.tF~   aue,
                                                                   .   bu.t oot patv,
                                                                                  ·~ to '"'- ""
                                                                                        ""'us.vany.
                           .    (iii) Tile sai-ro.ge valiiJ.e of any video~. cassettes or other materials
        purchase...cl by or m.anu~Jxed by Company a_nd not soki as Vtdeo De:Vic~.
                          (b)
        redur.ed by:
                                     (i)       AD.y s:tJmR! paid to      o~~     retained by any servicing entity.
                                 (ii)     Afi:y outside costs a..cwally incurred in connection with c:..~e
        coUection of monies included in Video Gross Rf£eipts, inclL~.ing out.side attorneys and outside              I

        auditors' fees ar~ costs, and any and •!I loss, <b.m~¥e; or littbility .ten.Wly suffered. or actually .
        incu.."l~t'..d by Company in tbe collection of ~ell mom.es, whether by litigation or othe:rwise, in
        the computation of Vidoo Gross R~ipts hereunder.
                                 (iii)  Any anrJ aJI sums paid or accrued on account of sales, use, vaJue
        added, receipts, inc.ome, excise, remim.nce and. OfJler tu..es (however denominated) to any
        governmental av.thorities, asSt"...ssed upon the Video Dev!ces, or upon the use or distribution of
        Video Devices or upon thi: revenues derived therefrom or any rert thereof or u~-on the
        rerrJttance of such revenu.es or any p81't thereoft aoo a.ny and ~n sums paid or at".crooo on
        account of freight, shipping, llandling or insurance in. connection with the sale of Video
        Devices , duties, cvstoms and imports, costs of acquiring permits, quotas and any similar
        authority to secure ilie entry. !icensingt sale exhibition, p.erfonr..a.nce, or other use of Video
        Devices in any country or part dteroof regardleas of whether such payments or accruals ue
        assessed against Video Devices or th."S proceeds thereof or against a group of motion pictures or
        programs in which the Video Devices or proceeds thereof may be included. In no event shall
        the deductible amount any such tax (however denominated) impo~ upon Company be
        decreased (nor the Gross Receipts increased) because of L'le :r.J!P.ner L'! which such taxes are
        elected to be treated by Company in filing net income, corporate franchise, excess profits or
        similar ta_:x returns. Notwithstanding the foregoing, Company's own income taxes and
        franchise ta:r.es ba.~ed on Company •s net income and any income taxes paid to any country or

        Screenplay Opdcm-Purcfwe Oi/31/91
        Grav~/Gert04EB.0021S.l3.99
                                                                      ·28·

                                                                                                                         Ex. 1 - p. 39
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 41 of 45 Page ID #:45




        territory by ComtlmY tued on me r..et e~s of Company in such country or tetTitory (to
        the extent oomputoo and a~ud solely by the re!\SOn of volunt:uy retention in such country or
        tetTitory by Company of any portion of Gross P...f,\Ceiots) shall not be deductible in computing
        Gross Receipt! hereunder. Notwithm.nding to the oonti-aJ.')' contained herein, PB.:rticipmrt sba.U
        have no right to i.Ittpect or copy ~Jly inr..ome or franchise tax retu.rn of Company or any of its
        su.bsidiariea or affiliates or to require Company or any of its subsidwies or affiliates to
        pt·oduoo ~my such to: ~tw"'D. or any information contained herein.
                                      (iv)     Company shall have the right to deduct art!! to reserve for returns
        and credits of any nature, Ux!luding, without limitation, those ·on t,ccovm of one hun!ired
        p..!rce-nt (100%) or a lesser return privile-ge, defective merchandise. exchang~ privilege,
        promotional credits. errors in biilingt um~.sual overstock, bad debts and erlors in shipping.
                              (v)     Any adrull.ion81 costs (which are not included in the cos~ of
        production of the Picture) incurred in conoection with the reprodu•ctio~1 of the Pict\J.re for the
        purpose of enabling the issuance of Video Devices therefrom.
                  4.        Royalties shall not be payable on Video Devices funlished without charge for
        promotional purposes or as a sales inducement or othetWise to distributors. su.bdistributors,
        deBleJ."S~ reviewers and others. All royalty-free Video Devices distribu~ for p1·omotion£1
        purposes sl}all be stamped or mMkcd with a legend to the effect tlla.t such Video Devices are
        for promotional pu..rpott.-es only and are •oot for sale.     K



        •••••




        Screenplay Option-Pun:lwt f1713lft'n
        On.vtry1Gerr04EE.OOV5.13.99
                                                               -29-

                                                                                                                Ex. 1 - p. 40
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 42 of 45 Page ID #:46




                                              SOUNDTRACK ROY AJ~TlES

        Provided that Company is.vested with record manufa.cturing rights in and to the music
        contained. in the sounrJ.track of the Picv.Jret and that P~""ticipant or my third party affiliated Y.lith
        or subsidiary to Pardc!pant or of which Participant has ~~nefteial or consL."'Uctive control shaH
        not be entitled, separn.te and apart or indep-~ridently from this Exhibit, to any p~rtion of the
        royalties or reverrues derived from any record manufacru.ring rights in any such music:
                 A.         If Company (as oppo~W. to a third party assignee, design..~ or licensee) shall use
        the soundtrack of the Picture for the purpose of manufacturing, diS"uibuting, selling and
        advertising con-:amercial phonograph records (herewfter "soundtl'ack recotds") of the music,
        musk.al compositions, sound effects and/or dialogue used in the soundtrack of tbe Picture, the
        gross receipts of the Picnu·e shall includ~ a royalty derer.mined as follows:
                         1.       A.n amount equivalent to seven and one-half percent fl·l/2%) of the
        su,ggested Ust p~ice (excluding Fed~rr:d Excise Taxes, or t~ equivalent thereof. looal taxes if
        any~ and standard container ~ha.rges) of ninety per(".ent (90%) of soundttack records            '
        manu.factm'ed and sold mt.tw United States. As to soundtrack records not consisting entirelv of
        music. musical compositions, $Ound efftXts and/or dialogue from. the soa~.tmck of the Pic~.re,
        the royalties to ·be included in the gross receipts of tbe Pictu.re sb8Jl be prorated. by multiplying
        such royalty by a fraction, the numerator of which is the number of ~bands" of such record of
        music. musical composition, sound effects Lid/nr dialogue from the soundtrack of the Picrure,
        aril ilie denominator of which is the total numb:r of '~bands .. of such record. A "b&nd" from
        tlhe sound tntck of the Picnare shall i.m:lude music and musical composition:; taken from the
        actual sou1.1d trw.;k of the Picture as well as rerecordings of portions of, or all of, ~uch music or
        ru.usical comtJOSitions by the same a.nist originally performi.ng (>n the acttml soUndtrack.
                         2.      .A.s to souootra.ck records sold outside the United Su.res. the roya.lty
        in;;luded in tb.e gros§ receipts of the Picture shall be one-half (112) of the royalty referred to in
        Pa.rngraph 1 above and. s!WI be ;;:atcuta~, at Company's election, upon t.hc suggested retail
        Jist pri~ of SJJeh sou.ndtrac}.~ records in the country of manufacture, the United Stares. England,
        or the country of sale. The amounts of such royalties sJui.U be computed in the national
        currev.cy of the country to which. the list price so elected applies and shall be paid at the same
        rate of exchange as t.ne raw at which New York is paiq; provided, how~ver, that royalties on
        such records shaH not oo included in the gross receapts of the Pictu.re until paymeni therefor
        has actually been received by New York in the United States.

                        3.      In res~¢ of phonograph records sold through any so-called "record
        clubs" or similar sales plans a.nd devices, the royalty shall be one-half (112) cf that referred to
        in Paragf;iphs 1 and 2 of t..lrls Exhibit ·nNP-2", de~nding upon where such phonogiraph
        records are sold; provided, however, that there shall be no royaliy with respect to phonograph
        records given to members of such record clubs as "·bonus'~ or "free" phonograph records as a
        result of joining the club ~n.dlor purchasing a required number of phonograph records. No
        royalty zhaU be computed with respect to soundtrack records given away or furnished on a "no
        charge" basis to disc jockeys, radio stations, dealers or others.
                       4.      In computing the numl>~r of soundtrack records manufactured and sold
        hereunder, Company shall have the right to deduct the returnS and credits of any nature,
        including, without limUation, those onaccount of one hundred percent (100%) or a lesser
        return privilege, defective merchandise, exchange privilege, promotional credits, errors in
        billing, unusual overstock !nd errors in shipping.

        Screenplay Opdon-Purehas.e 07/31197
        Gravity/GerrOrffiEJlQ'l/j. i 3. 99
                                                          -30-


                                                                                                              Ex . 1 - p. 41
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 43 of 45 Page ID #:47




                      5.      From the royalties computed as set forth above, there shall first be
        deducted the agg:regate of the following cosu md expenses. and only the balance of royalties
        remaining after such deductions sha.U have been n-aad.e st'tall be included in the g.ross receipts of
        the ·Picture:
                              (a)   Any amOWilts and royalties which shall be p~yable to the
        pe:rson(s) whose pcrfonnance(s) is/are contained on the sourfdtra.ck recoi'd in &Ct"~rdance with
        the agreement(s) which may have been entered into with any such P'trson(s);
                                 (b)       P.J! costs. e;:penses and fees with respect to the soundtrack record
        incurred by Company, or any company comprising Compmy or its or their subsidia.ries,
        divisions or affiliates? l.h"'Kier agreement(s) with the AJ:n.erican. Federation of Television and
        bdio Artists of the United Snttf'.s and Canada or any other guild or union wherever located
        and wheth~t· now or herez,fter in existence. Said costs shall include, bu~ not be Umited ·to,
        reusage or re-recording fees, and where there is OO· appropriate u.nion scale: reuse fee, actual
        recording costs; and                                                  ·
                               (c)    AJJy additional costs (which are not included in the cost of
        production of the Picture) in...~rroo in connection with the rer-<>rding or re:recording of the
        soundtrack for fut; purpose of enabling the issuance of rerecordir.&gs theirtfrom..
                          B.      If a third-party assig:oee, designf.e or li~~ (as opposed to Company)
        shall use the soundtrack of tbe fictu.'I'C for the purpo.~ of manu.facturing. distributing, selling
        and ..dvertising ooundtrnck n~cordst Company shall include in the gross ieceipts of tbe Picture
        (in .lit.u of the royalty provided in Section. A) . royalty equiv lent to mat earned fto.m the actual
        sale of suc~1 sourtdt~k: records and actually received by Company from any such assigne.~.
        designee or Hcen.~ with ~ theretot less m administration fee in an amount equal to
        fifteen percent (15%) of one hundred percent (100~) of all mch sums, and thereafter, less any
        costs, amounts or royalties wruch ma1 be oayable in rcspoct, of my of t..lte items set fortb in
        Section A, P"Dragmph S of thi.s ET.lu"btt "DNP-21).




        Screenplay Option-Purebas~ f!1/31/'17
        Gr~vifY/Gen04EE.OOll5.l ) .w
                                                        ·31-

                                                                                                             Ex. 1 - p. 42
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 44 of 45 Page ID #:48




                                                      EXHIBIT 11 DNP-3"
                                               rtruSIC PUBLISH1NG RIGHTS
         Provided that Comoany is vested with music publishing rights in and to the music contained in
         tile sour:dtrack of the Picture ta..nd tlle full publisher's sruare thereof, and that l~rticipant or any
         third party affiliated with or subsidiary to Participant or ~:~f which Participant has ooneficial or
         constructive control shall not be; entitled, separate and apwt or !ndependently from this Exhibit,
         to aa,y portion of the royalties or revenues derived ftom any music publishing rights in any
         su.cb music, Company shall requ.ir·e the music publist:..er to which it ms,y grant publishing rights
         (whicl1 rrmy be an affiliated or related comptmy) to· pay to Company, with res~ to music and
         lyrics written spccifiCBJly for 1.nd synchronized in the Pitn.lre as released, and the gross
         receipts of the Picture shaH ~nclude, t,."'w following royalty:
                A.      An amount equal to twenty pr~rcent (20~) ofth~ "PubUs~r's Shue ~ of
         mecraanicai reproduction and performing fees received by the publisher in the United States;
                       B.     Two cents ($.02) per copy in respect of prantr..d piano or piano-vocal copies sold
         and paid for       L"tdnot returned in the Unittd States and tie Dominion of c~nada;
               C.     Two cents ($.02) per copy in re:.p.eet of or~besttation, choral editions ~.nd other
        printed arrangements which are sold and paid for and oot retLL.--r.ed mthe United S~tes and the
        Dominion of Canada; m1
                D.       Pill antO'J.nt equal to twem)' perce~~ (20,.;) of the ~Pu.blisheR·'s Sbar.e" of any or
        all receipts of tb.e publisher in. the UrJ.ted S~ from any other OOl'UXA.': not herem specifi,cally
        provided for.
                       n~   "Publisher• s Share" shall be deen'!ed   iO   mean:
                       !.     With rt:spect to mechanical reilroduction fees, the amount aci.U2lly
        collected by the publisher less coUectic,n fees a.nd tmy and all royalties paid to authors,
        composers or any otb.er third parties: md
                        2.     VJitlt res~Yvet to ~rforming feesi the amounts acntally collected by the
        P'!blish\!r from any performing rights society (U being uooerstcoo tb.at authors and composers
        are generally paid s~arely e.nd dim;tly by such. perlon:nm~ rights societies) less any portion
        of such royeJtia payable to others and any reasonable cost m)d ex~nse in admini~tering the
        collection of such fees.




         Scn:cr~playOpdon-Purdluc 0713Jm
         Grav\tyt0erril4EE.OOUS. i 3.99



                                                                                                              Ex. 1 - p. 43
Case 2:14-cv-03305-MMM-CW Document 1 Filed 04/29/14 Page 45 of 45 Page ID #:49




                                                EXHIBfl" "Dl"W-41'
                     l\!ERCB.A.l'IDISINGIN(WELIZ.-t'i'JON PUttLICA~~J ROY A.LTIES
        F-rovided t.hat Con1pany is vested with merchan~ising r~gbts in ar~ tot.~ Picture, and that
        Participant or an~ thircl put)' affiliated with or subsidiary to Ps.rticip!Ult or of which P~rticipant
        h2.s bensficial or constructive control SMll not be enti~.oo. sep:ar4lte or apart or independently
        from this EXA~bit, to any portion of the royalties or revenu.~ delivoo from any such           ·
        trD(:rcrumdismg rights. there shall be included in the gross receipts of the Picture:
                A.     If Company (as opposed to a third party assignee, designee or liceilSee) shall
        exercise merchandising rights in the Picturet m araount e-.quivaient to fifty percent (50%) of all
        license fees (m excess of _ii royalties and p.uticipatio:u) earned from the actual sale of
        merehandisi!ig i~ms and actuaJly receivec-7 by Company directly as a result of the exercise by
        Company itrelf of suc,h merchandising rights.
                B.      If a third-ps.ny sisn=, designee or licensee (as opposed to Company) shall
        exercise such merch:mdish1g ri.ghts, Company shall include in the gross receipts of the Picture
        (in lieu of the amount provided in Section A), at its election. an amount equivalent to either:
                        1.    Eigbty·fi'IC percent (85%) of the net su.ms (in exce!s of all royalties and
        participations) eL~ed and. actually l'll'.:Ceived from such third-patty assignt.e, designi:e or
        Ucen....cee; or
                        2.     Fifty percent (JO%) of the net sums {in excess of all royalties artd
        participations) derived by such .thltd-pgny .assignee, designe:e or licensee from~ e:<et.ocise of
        such merchandising rights.

        Picmre, and that Participant or any tW.rd p.raty alfili~~ witb or S\tbsidiary to P          pant or of
        which Participant has beneficial or con.~ctive control shan not be e~~~ or apan:
        or independendy from tb.is Exhibit, to any poriion of the royaltiej...OI•·"revenues derived from
        such novelization publication rigttts, there shall be includ · :-tlie gross re>teipt.t: of the Picrure,
        a~ Company's ele-ction, an amount equivelent· to ei . .                                              ·
                          1.     Th~ ne: sun~ ~ and actually received by Cotm.?fJlY from
        independent third-pt4J\Jf publis~~~6m the publication of novelizations of the screenplay of
        the Picti.!re (in excess oy.Y--l"'yalties a~ pa.."1icipations to the wri~rs of such novelizations); or
                                __.,....
                  ~ Five percent (5~) of the net sums derived by the publisher of such
        ~ frOm the publication thereof (in excess of all royalt~es and p~.rticipations to the
        ::::::8f 8M:t!.h Re,.•·elt.~.




        Sl:rcenplay Option~P\a~ a1131191
        OravltY/Gen(WEE.0021S.l3. 99
                                                         -33-


                                                                                                            Ex. 1 - p. 44
